Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 1 of 97
                                                                     FILED by               D-C-

                                                   Sealed
                                                                        ,A.
                                                                          ,#
                                                                           NtJg f
                                                                                ngjj
                                                                        S'!l
                                                                           -
                                                                           JJ
                                                                            kEf'
                                                                               ?&i.LARIMORE
                                                                        CLERK U.S.OIST.CT.
                           UNITED ST,NTES DISTRICT C OU RT                S.D.cfFt-A.-MI
                                                                                       AMI
                      FO R TH E SO UTH ERN DISTRICT O F FLO IU DA
                                    M IAM IDIVISIO N

       THE UNITED STATES OF AM ERICA and
       THE STATE OF FLORID A ex rel.JANE D OE,
                  Plaintiffs,
                                                            1
                                                   CivilAction o.
                                                                    -c
                                                                     k'
                                                                      ,0 0 9 9
      4200 W ASH m GTON STREET OPERATION S
      LLC Wb/zlH ILLCREST HEA LTH CAILE AND                                   CN -ALTONIC/
                                                   FILED U NDER SEAL PU RSUA NT
      REHABILITATION CEN TER;EPSILCIN
      HEA LTH CARE PROPERTIES,LLC;(.'   ,M C 11,   TO 31U.S.C.j3730(b)(2)
      LLC d/b/a/CON SU LATE M AN A GEM EN T;
      LAV IE CA RE CEN TERS,LLC d/b/a              D O N O T PLACE IN PRESS BOX
      CON SU LA TE H EALTH CARE;H CCF              OR ENTER O N PAC ER O R ANY
      M ANA GEM ENT GROU P,IN C;ZAC                PU BLICLY A CCESSIBLE
      M ANA GEM EN T GROU PyLLC;ALG LAVIE          SYSTEM
      LLC;CM C 11INVESTORS,LLC;CO LUM BIA
      PA CIFIC OPPORTUN ITY FUN D TL.P.;FC
      INVESTORS XX I,LLC ;FC LV H OLDCO,LLC;       COM PLAIN T A ND D EM AND
      FLORID A HEALTH CARE PR OPERTIES,LLC;        FO R JURY TR IAL
      GEN OA HEA LTHCARE GROUP,LLf'    .;LV
      INV ESTM EN T,LLC;LV OPERATIOFC'  S 1,LLC;
      LV OPERATION S l1,LLC;M CP LAVIE,LLC;
                                                                      XYUUU
                                                                      *1 'e
                                                                                   ..



                                                                                   ...
                                                                                     .  - >e .e
      SAY LA V1E LLC;SEN IOR CARE LA VIE,
      LLC;1995 DAV ID REIS FA M ILY TRIJ
                                       (ST;LVE
      MAS
      LLC;TER TENANT$ LLC;LVEHOLDCO,
          FC EN CORE HO LLYW OOD ,LLC;FC
      EN CORE M AN AG ER,LLC;GEN ESIS
      ELDERCARE REH ABILITATION SERM CES,
      LLC (Fb/a GENESIS REHABILITA TIO N
      SERVICES;GEN ESIS HO LD ING S LDI
                                      :Z;
      GENESIS HEA LTHCARE LLC;GEN
      OPEM TION S 11,LLC;GEN O PERATION S 1,
      LLC;FC-GEN OPERATION S INVESTM EN T,
      LLC;SU N H EALTH CA RE GROUP,INC.;
      GEN ESIS HEA LTHCARE,IN C.;JO SEPH D .
      CONTE;ROBERT H ARTM AN ;ISAA I' .!M .
      N EUBERGER;ASH ER LOW ;CH RISIOPHER
      BRY SON ;DA NIEL E.DIA S;RUSSELI-D .
      R AGLAND ,JR.;KENN ETH U SSERY;TROY
      M .ANTON IK ;JEFFREY K .JELLERSIJN ;
      DAV ID REIS;ARN OLD M .W H ITM A'
                                      Ik;
      STEVEN E.FISHM AN ;FORM ATION
      CAPITAL,LLC,
                  D efendants.
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 2 of 97




             1. 17()(1()r::1 ()(11    -()ft1-(1 (ltltll-rem entsfr     t)rE4 17S.....................................................................dlS5
            1!. l71(,11*(lft ()(l1    -(1Ct1
                                           -(l kl(llll-rtlllltlllts f-t)r E; 17S .....................................................................2121
            :!. tll    -rrllltlrsklrrlklrltl))r ()tl1   -(2:t1
                                                             -(1.........................................................................................zl-7
      ilM
        IT IFIT            I?II 1! 1.17 1,6;1q(21. ,                 1S; (17rE;.....................................................................Zl6)
        EFE              TS'SC E E T                      EF I.       r E IC                   , E IC 1 ,                        T IC E.......52
         :pk. 1kLt)1ator's Ik791()$Nrlkl(lljk)()t-tll()lirëttltllzltllztE;(rlltllzztls..............................................................1514
             1 Provision ofUnnecessary M edicare Servicesto lncrease M edicare Billing .................52
            2. Retention ofResidentsforA dditionalDaysto Increase(                                       M edicare B1       'll1'ng....................56
                  llll
                     -f-f-
                         tlrtlrltl
                                 -Ct1-1-r()éttrrlkrllt()t-IStI()cli(li
                                                                     Et1
                                                                       -(1l?Les1-(1klrlts...............................................................t5ti
                  Falseand FraudulentRecordation ofTherapy to lncrease (                                     M edicare Billing ................69
            5. Flipping of(          M edicare Advantage!Residentsto lncrease(                           M edicare Billing ....................71
            6. Steen'ng ofBusinessto Hospice ProviderHeartland Hospice.......................................75



                CO        T 1ViolationoftheFederalFalseClaimsAct,31U.S.C.j3729(a)(1)(A)..........83
                CO        T 11ViolationoftheFederalFalseClaimsAct,31U.S.C.j3729(a)(1)(B).........83
                CO        T 11IViolationoftheFedel' alFalseClaimsAct,31U.S.C.j3729(a. '
                                                                                      )(1)(G).......84
                CO        T IV Violation oftheFlorif
                                                   laFalseClaimsAct,Fla.Stat.j68.082('
                                                                                     a!)(a)............84
                CO        T V ViolationoftheFloridaFalseClaimsAct,Fla.Stat.j68.082(2)(b).............85
                CO        T V1 ViolationoftheFloriflaFalseClaimsAct,Fla.Stat.j68.082('
                                                                                     a!)(g)...........85
                (2(T) rl-1kr11 (Tiqri1(2()rlsll1
                                               -rétl))?.....,
                                                            .....................................................................................ilti
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 3 of 97




                                      NATUNkE O F TH E A CTION
              1.    Thisis an action broughton behalfofthe United StatesofAm erica and the State

      ofFloridabyPlaintiffJaneDoe(hereinafterreferredtoasttRelator'')againstDefendants
      pursuanttothequitam provisionsofthefbderalFalseClaimsActCTCA''),31U.S.C.jj3729-
      33,theFloridaFalseClaimsAct,Fla.Stat.jj68.081etseq.,and common law.
                    TheRelatorinthiscaseisemployedataskillednursingfacilityCtSNF'')owned
      oroperated by D efendantsortheirsubsidiariesoraffiliates. The allegationsofthii;Complaint

      are m adeon inform ation and belief,including from theRelator'sfirst-hand know ledgeof

      Defendants'unlawfulpracticesin knowingly falsifying num erous statem entsand claim s

      subm itted forreim bursem entby the M edicare,M edicaid,and TRICARE program s.
                    D efendantsengaged in a schem eto defraud the U nited States and the State of

      Florida ofm illionsofdollarsofM edicare,M edicaid,and TRICARE fundseach yearby

     misrepresentingthem edicalcondition of,andtreatm entprovided to,residentsatDefendants'

      SNFs.

                                    JUR ISD ICTIO N AND VEN UE

              4.    ThisCourthasjurisdictionoverRelator'sclaimsunderthefederalFCA pursuant
     to28U.S.C.jj1331,1345,and31U.S.C.j3732,andhasjurisdictionoverRelator'sclaims
     undertheFloridaFalseClaimsActpursuantto28U.S.C.jj 1367 and 31U.S.C.j3732(b).
     Venueispropertmder28U.S.C.j 1391(b)and(c)and31U.S.C.#37324a)becausethe
     Defendantscanbefound,reside,and/ortransactbusinessinthisjudicialdistrict,andbecause
     actsproscribedby31U.S.C.j3729andl71a.Stat.j68.082havebeencommittedbythe
     Defendantsinthisjudicialdistrict.
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 4 of 97




             5.      Relator'saction isnotbased upon the disclosure ofallegations ortransactionsin

      a crim inal,civil,oradm inistrative hearing,in acongressional,adm inistrative,orG eneral

      Accounting Office report,healing,audit,.
                                             I
                                             .)rinvestigation,orfrom the news m edia. Atthe tim e
                                             '

      theoriginalCom plaintw asfiled,there wasno such disclosure,and in any eventthis action is

     based on Relator's directand independentknowledge,noton any such disclosure. Relatoris an

      K&originalsource''ofthe inform ation upon which heraction isbased. She hasdirectand

      independentknow ledge ofthe informatiollon which heraction isbased,and shevoluntarily

     provided herinform ation to theU nited States and the State ofFlorida before filing her

     Com plaint.

             6.     Defendants'schem ew asencouraged by seniorofficers ofD efendartts,who

     actively encouraged em ployeesto falsify statem ents and claim ssubm itted to the U nited States

     CentersforMedicareandMedicaidServices($çCMS'')andtheFloridaAgencyforHealthCare
     Administration (6çAHCA'').Defendantsalsopressuredandmanipulatedemployees,suchas
     Relator,who raised concernsaboutthe fraud.

            7.      D efendants'schem e reliesin parton apracticeknow n asGûflipping.'' To increase

     theirM edicareand TRICA RE reim bursenlentrates,Defendantsm ade a concerted effortto pick

     SNF residentsup from otherinsurance program sand m ove them to M edicare to maxim ize

     reimbursem entto D efendants. Defendantsconsistently undertaketo teflip''residentsto M edicare

     in theabsence ofa m edically defensiblerationale. ln addition,to facilitate the flipping oftheir

     residents,D efendants falsely representthatresidentsrequire additionalassistancewhen no such

     assistance isneeded orprovided;provide unnecessary rehabilitative therapy;and o'verstate the

     am ountofrehabilitative therapy provided to residents.




                                                     2
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 5 of 97




             8.     To increasetheirM edicare and TRICARE reim bursem entrates,Defendantsalso

      make a concerted effortto ensure thatresidentsrem ained attheirfacilitiesforthe rnaximum

      100 daysforwhich paym entsare allowed underM edicare A .Thisconsistently occursregardless

      oftheresident's condition,in the absence ofam edically defensiblerationale,and is

      accom plished by falsely representing thatresidentsrequire additionalassistancewhen no such

      assistance isneeded orprovided'
                                    ,by falselyrepresenting thatresidents cnnnotsafely be perm itted

      to leave the facility;by providing unnecessary rehabilitative therapy;and by overstating the

      am ountofrehabilitativetherapy provided to residents.

                    M orerecently,on inform ation and belief,D efendantshave incorporated M edicare

     B claim sinto the schem eby subm itting claim sfortherapy servicesunderM edicare B when such

     therapy isnotneeded orprovided,including by providing unnecessal'y rehabilitative therapy and

      overstating the am ountofrehabilitativetberapy provided to residents.

                    D efendants'schem e also relieson the provision ofgrossly unreasonable and

     substandard care to residentsand falsification ofrecords and docum entsto hide them isconduct

     from governm entofficials and residents ortheir fam ilies.

                    In an effortto retain the prtafitsm adepossible by theirillegaland fraudulent

     actionsin theirSNFS,including D efendant4200 W ashington StreetOperationsLLC d/b/a

     HillcrestHealthcareandRehabilitationCenter(lll-lillcrest''),Defendantshavecreatedahighly
     convoluted ownership structurew hoseonl
                                           .
                                           y pum ose can beto m ake difficult,ifnotim possible,

     recovery ofthe ovep aym ents they havereceivcd from the governm entsoftheU nited Statesand

     the State ofFlorida.

             12.    The form ation ofthistype ofownership structtlre isnotunique in tlliscase. ln a

     2010report,theU.S.GovemmentAccountabilityOffice(&&(lAO'')notedthecommoncomplex
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 6 of 97




      ownership strucm resand chain affiliatiorlsofnursing hom e chains..l lndeed, recentnews articles

      have focused on the relationship between this ownership strtzcture and the deteriorating quality

      ofcare atnursing facilities.z A sim ilarownership structtlreispresentin thiscase. SeeD iagram

      ofExamplesofRelationshipsBetweenCorporateDefendants,attachedheretoasExhibit1(t4Ex.
      1'').Asnotedbelow theSNF whereRelatorisemployed(aswellastheotherSNl7sownedand
      controlledbyDefendants)hasonettdirect''ownerandatleast19ttindirect''owners,a11ofwhom
      hold ownership interests of5% orgreaterand are beneficialowners.

             13.     The Defendantsnoted below with an çtindirect''ownership interesti.
                                                                                      n Defendant

      EpsilonHea1thCareProperties,LLC (an(1thusanindirectownershipinterestinEpsilonHealth
      CareProperties,LLC'Ssubsidialy DefendantHillcrest)includeentitiesknownorbelievedtobe
      subsidiariesoforaffiliates ofD efendantlwavie Care Centers,LLC d/b/a ConsulateH ea1th Care




             1U .S.Gov'tA ccountability Office,Nursing Hom es: Com plexity ofPrivate Investm ent
      PurchasesD em onstratesN eed forCM S To Improvethe Usability and Com pletenessof
      Ownership Data,ReporttoCongressionalRequesters,GAO-10-710,at22(Sept.2010),
      hûp://ww .gao.gov/new .item s/dlo7lo.ptlf.
             2Forcxam ple, theN ew Y ork Tim esrecently published an article on the topic. See
      JordanRau,CareSuffersasMoreNursingHomesFeedMoneyIntoCorporatelJ'cg ,N.Y.
      Tim es,Jan.2,2018,https://-      .ngimes.coe zol8/ol/oz+usiness/nursing-homes-care-
      coyorate.html.Thearticlenotesthat:(1)ownersofnursinghomesfrequentlystructuretheir
     buslnessesto outsource serviccsto com panies in which they have a tinancialinterestorthey
      control(relatedpartytransactionsl;(2)nearlythree-quartersofnursinghomesintheUnited
      Statestakeadvantareofthiscomplexcorporatestructure;(3)contractswithrelatedcompanies
     accounted for$11blllion (or10%)ofnursinghomespendingin 2015,
                                                                .(4)nursing homesthat
     outsotlrce to related companiesoften have significantshortcom ings,including few zrnursesand
     aidsperpatientandhigherratesofpatientinjuriesandunsafepractices'
                                                                    ,(5)ntlrsinghomesthat
     outsource to related com paniesreceive nearly twice asm any com plaintsasdo independent
     nursinghomes;and(6)thiscomplexcorporatestructuremakesitdiflicultforinjtlredresidents
     andtheirfamiliestocollectmoneyfrom t'
                                         I
                                         rlerelatedcompanies.1d.lndeed,tûla)2003articlein
     theJournalofH ea1th Law encouraged ow nersto separate theirnursing hom e businessinto
     detached entitiesto protectthem selvesifthe governm enttried to recoup overpaym entsorif
     juriesleviedlargenegligencejudgmentsa''1d.
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 7 of 97




      (çtconsulateHea1thCare'')orofFormationCapital,LLC (tsFormation Capital'')(i.e.,those
      n.
       n.
        mescontaining Et avie,''ttLV j''ort4FC'5').
             14.     Publicly available docum entsshow thatD efendantEpsilon Hea1th Care

      Properties,LLC 'Sindirectparentcom pany,D efendantConsulate Health Care,generatesrevenue

      in excess ofabillion dollars. The known upstream ownersofD efendantConsulateHea1th Care

      includeprivate equity firms such asDefendantFormation Capital,LLC with billicnsofdollars

      underm anagem ent..
                        3

             15.     D efendantForm ation Capitalistheultim ateparentcom pany in D efendants'

      fraudulentschem e. On inform ation and belief,D efendantshave established an extrem ely

      complicated and convoluted ownership structure,described in greaterdetailbelow ,forthe

      pup ose ofallow ing Form ation Capitaland its individualinvestorsto reap them onetary benefits

      oftheirfraudulentschem eby m aking itdifficult,ifnotimpossible,forthe goverm nentto trace

      the flowsofDefendants'ill-gotten gainsthrough variousshellcorporations. W ith few

      exceptions,the entities in D efendants'ownership chain do notengage in day-to-day businessand

      existm erely asholding companiesorpass-through entitiesdesigned to distribute receipts from

      governm enthealthcareprogram swhileattempting to provide a shield againstliability. These

      entitieshaveno independentpurpose,no separatem anagem entoractivities,and no independent

      decision-m aking capability.
             16.     ln generalterms,D efendantFormation Capitalowns and controlsthe activitiesof

      SN FSnationw ide,including D efendantH illcrest4, through asetofshellcorporations(the




             3Cindy Barth, 2014 G olden 100: Top LocalPrivateFirm sSeeRevenue lncreaseby
      5.2%,OrlandoBus.J.(Aug.22,2014).
              4Hillcrest's2015 M edicaid CostReportfiled with theFloridaA gency forH ca1th Care
      A dm inistration identifies''Form ation Capital''as the ow nerofHillcrest,and ttForm ation Capital,
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 8 of 97




      ççlnvestorDefendantss''asdefinedbelow).ThelnvestorDefendantshavethecapabilitytodirect
      the operationsofthe variousSN FS,including DefendantH illcrest,and use thatcapability to

      forcethe SNFSto subm itfalse orfraudulentclaim sforreim bursem ent. Som e oftlle m oney from

      those reim bursem entsis distributed by the SN FSup theirownership chain to the lrt
                                                                                        vestor

      Defendantsand ultim ately to Form ation Capitaland its affiliates.

             17.    D efendantFormation Capitalalso contolsthe realestate on which those SNFS,

      including DefendantHillcrest,are located,through a setofshellcorporationsthatlease the

      propertiestotheSNFS(theççlwandlordDefendants,''asdefinedbelow).FormationCapitalandits
      affiliatesuse lease agreem entsbetween the SN FSundertheircontroland the Landlord

      Defendantsto extractm ore ofthe m oney the SNFSreceive from false orfraudulentclaim sfor

      reimbursem ent,and distribute itup theirow nership chainsand ultim ately to Fonnation Capital

      and its affiliates. In an April2016 interview ,forexample,D efendantArnold W hitm an,co-

      founderofForm ation Capital,explained thatby structuring a dealto ttexpand cash flow and then

      transferthatadditionalexpanded cash into rent,''Formation Capitalcan ttextract''value from its

      hcalthcare operating businesses.See SeniorHousing N ews,Arnold Whitman,Founderand

      ChairmanofFormationCapital(Apr.21,2016),availableat
      hûps'
          .//leadership.seniorhousinr ews.com /am old-whitm an-founder-and-chai= an-of-fo= ation-

      capital.

             18.    DefendantForm ation Capitalalso controlstherehabilitation servicesoffercd at

      theSNFSthroughitscontrolofDefendantGenesisHealthcare,lnc.(ççGenesis'')andsubsidiaries
      oraffiliatesthereof(theççGenesisDefendants,''asdefinedbelow).FormationCapitalaffiliates



      LLC''asa related landlord. 4200 W ashington StreetOperations LLC,2015 CostIteport,Florida
      MedicaidProgram NursingHomeServiceProviders(dçl-lillcrest2015CostRepolf'
                                                                             )at50-51.

                                                     6
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 9 of 97




      own substantialequity interestsin Genesis,w hich wasw holly ow ned by privateinvestors

      sponsored by Formation Capitalaffiliates untilFebruary 2015. Tltrough theircontrolofthe

      SN FS'operationsand ofGenesis,Form ation Capitaland its affiliatescause the SN FS in their

      control,including D efendantHillcrest,to enterinto contractsw ith the GenesisDefbndants to

     provide rehabilitation therapy servicesatthe SN FS. Those contractsprovide yetanotheravenue

      forthe distribution ofpaym entsreceived based on false orfraudulentclaim sforreimbtlrsem ent

      into an ownership chain w ith substantialbeneficialinterestsheld by Form ation Capitaland its

      aftiliates,in theam ountofhtm dreds ofm illionsofdollarsperyear. A dditionally,the contracts

      with Genesisallow Fonnation Capitaland itsaffiliatesto prom ote theirfraudulentschem e atthe

      SNFS by engaging in theim propertherapy-related billing practicesdescribed herein.

                    D efendantForm ation Capitalexercisesitscontrolofthese variousentitiesnot

      only through itsownership interests in them butalso through the work ofseveralilw estors,

      officers,andotherindividualsaffiliatedwithFormationCapital(the6tlndividualDefendants,''as
      definedbelow).ThelndividualDefendantsholdvariouspositionsasofficers,directors,or
      m anagersofthe various entitiesin DefendantForm aticm Capital'sne- ork and usc those

      positionsto ensure thatthe entity defendants engagein the fraudulentschem e described below .

                                             TH E PAR TIES

                R elator
             20.    Relatorisa citizen ofthe l/nited States ofAm erica and aresidentofthe State of

      Florida. Relatorisa degreed health professionalhaving received herm aster'sdegreein ahealth-

      related field from an accredited university. Relatoralso com pleted an advanced program in her

      field. Relatorhas worked forD efendantssincebefore 2010.
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 10 of 97




         II.        Defendants

               A.     H illcrest

               21.    DefendantH illcrestis a linlited liability com pany,organized under Lhe lawsofthe

      State ofFlorida on N ovember 17,2011. llillcrestisthe successor-in-interestto W ashington

      M anorHealth Care Associates,LLC by w ay ofa m ergerthatoccurred on February 1,2012.

      Hillcrestanditspredecessordo(ordid)blzsinessunderthenameHillcrestHea1thCareand
      RehabilitationCenterandoperate(oropel'
                                           ated)aSNFat4200WashingtonStreet,Hollpvood,
      FL 33021. Theregistered agentforD efendantHillcrestisCorporation Service Company,1201

      HaysStreet,Tallahassee,FL 32301-2525.

               B.     The M anagem entD efendants

               22. DefendantEpsilonHealthC-areProperties,LLC (til
                                                                EysilonHCP'')isalimitcd
      liability com pany organized underthe lawsofthe Statc ofFloridaon February 4,2004. Epsilon

      HCP'Sprincipalplace ofbusiness islocated at800 Concourse Parkway South,M aitland,FL

      32751. Thenursing hom e ow nership database m aintained by CM S identifiesD efendantEpsilon

      H CP asholding a 100% directownership ofDefcndantHillcrcstand as thew holeownerof45

      ntlrsing hom esin Florida,including H illcl'
                                                 est. Them ostrecentannualreportforD efendant

      H illcrestfiled with the Florida Secretary ofStatein April2017 identified Epsilon IICP asa
      m em beroftheH illcrestlim ited liability company,and w assigned by DefendantD anielE.Dias

      asan officerofEpsilon HCP. Theregistered agentforD cfendantEpsilon HCP is Corporation

      Service Company,1201H ays Street,Tallahassee,FL 32301-2525.

             23.      The m ostrecentannualreportforDefendantEpsilon HCP filed with the Florida

      SecretaryofStateinApril2017wassignedbyDefendantDanielE.Dias(ttDias'')asanofficer,
      andidentifiedDefendantKennethUsserytttusserf'lasTreasurer.M r.Diasiscurrentlythe



                                                      8
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 11 of 97




      ChiefCorporate CounselforDefendantfronsulate Health Care. M r.U ssery isthe SeniorVice

      PresidentofRevenue Cycle M anagem entand Treasury ServicesforD efendantConsulate Hea1th

      Care.The 2006 annualreportforD efendantEpsilon H CP filed with the Florida Secretary of

      State nam ed DefendantFlorida Hea1th Care Properties,LLC as the sole m em berofD efendant

      Epsilon HCP.

             24. DefendantCM C I1,LLC tI
                                       ,/b/a/ConsulateM anagementCçconsulate
      M anagemenf')isidentifiedintheCMSnursinghomeownershipdatabaseashaving
      çtoperational/m anagerialcontrol''overDefendantHillcrest. D efendantConsulateM anagem entis

      a lim ited liability com pany organized underthe law softhe State ofFlorida on O ctober7,2011.

      1tsplace ofbusiness islocated at800 Concourse Parkway South,M aitland Florida 32751.

      DefendantConsulateM anagem entisa wholly-ow ned subsidiary ofDefendantConsulate Health

      Care. The m ostrecentannualreportforIlefendantConsulate M anagem entfiled w ith theFlorida

      SecretaryofStateinApril2017wassignedbyDefendantDias(Officer)andlistedDefendant
      Consulate Health Care asitsm anaging m cm ber. The articles oforganization forD efendant

      ConsulateM anagem entw ere am ended in July 2012 and the am endm entw as signed by non-party

      ChristinaFirth,asm anagerofConsulateM anagem ent'ssole m ember,DefendantConsulate

      Health Care. Atthattim e,M s.Firth w asa SeniorV icePresidentofDefendantFol-mation

      Capital. Theregistered agentforDefendantConsulateM anagem entisCorporation Service

      Com pany,1201 H ays Street,Tallahassee,FL 32301.

             25. DefendantLavieCareCenters,LLC d/b/a/ConsulateHea1th Care(çtconsulate
      HealthCare'')isidentifiedbytheCM Snursinghomeownershipdatabaseasoneoftheentities
      holding an indirectownership interestof15% orm oreoffacilities directly owned by Defendant

      Epsilon HCP,including D efendantHillcrest. D efendantConsulate Health Care is alim ited



                                                    9
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 12 of 97




      liability com pany organized underthe lav/'
                                                softhe State ofDelaw areon Septem ber8,20l1. 1ts

      principalplaceofbusiness islocated at84)0 ConcourseParkway South,M aitland,FL 32751.

      '
      I'
       hewebsiteofDefendantFonnation CapitallistsLavieCareCenters(i.e.,DefendantConsulate
      Hea1thCare)asanççunrealized''holdinginFormationCapital'sttservices''portfolio.See
      hdp://fo= ationcapital.coe sew ices.php. The registered agentforDefendantLavie Care
      Centers,LLC isCop oration Service Com pany,25lLittleFallsDlive,W ilm ington,DE 19808.

                     The entity defendantsidentified in paragraphs22,24,and 25 are collectively

      referred to herein as the tçM anagem entD efendants.''

             C.      The Form ation C apitalDefendants

             27. DefendantHCCF M anagementGroup,lnc.(t6HCCF'')owns30% ofDefendant
      Form ation Capital,according to aM arch 2017 filing by Fonnation Capitalw ith theU .S.

      SecuritiesandExchangeCommission(ççSEC'').DefendantHCCFisacorporationorganized
      underthe law softhe State ofG eorgia on January 27,1997. 1tsprincipalplace ofbusinessis

      3500 Lenox Road NE,Suite 510,Atlanta,GA 30326. ltsharcsthis office with D efendant

      Formation Capital. D efendantArnold M ,W hitm an owns 100% ofHCCF and is its Chief

      ExecutiveOfficer(ç1CEO'') President,andChiefFinancialOfficer(ttCFO'') accordingtofilings
      with the SEC and Georgia Secretary ofState. Theregistered agentforHCCF isC T Corporation

      Systcm ,289 S.Culver Street,Lawrencevillc,GA 30046.

                    DefendantZAC M r agementClroup,LLC (ttZAC'')owns30% ofDefendant
      Fonnation Capital,according to a M arch 2017 SEC filing by Form ation Capital. Defendant

      ZA C is alim ited liability com pany organized underthe law softhe Comm onwea1th of

      Pennsylvania on M arch 7,1997. Itisthe survivorofa 2011m ergerw ith,and isthesuccessorin

      interestand liability to,ZA C CapitalPartners,LLC. 1tsprincipalplace ofbusiness is 1617 John
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 13 of 97




      F.K ennedy Boulevard,Suite 545,Philadclphia,PA 19103. DefendantSteven E.Fishm an owns

      80% ofZAC and isitsttM anaging M ember,''according to filingswith the SEC and Pennsylvania

      Departm entofState. The registered agentforZA C isCorporation ServiceCompany,2595

      Interstate Drive,Suite 103,Harrisburg,PA 17110.

             29.    The entity defendantsidentified in paragraphs27 and 28 are collectively referred

      to herein asthe çtForm ation CapitalDefendants.'' On inform ation and belief,theForm ation

      CapitalDefendantsare ow nersofD efendantForm ation Capital,w ith a collective ow nership

      share ofatleast60% .

             D.     The InvestorD efendants

             30. DefendantALG LavieLLC (EWLG LaVie'')isidentifiedbytheCM Snursing
      hom e ow nership database asone ofthe entitiesholding an indirectownership interestof5% or

      m ore ofproperties directly owned by DefendantEpsilon H CP,including D efendantH illcrest.

      ALG Lav ie is a lim ited liability com pany organized underthelaw s ofthe StateofDelaw are on

      N ovember 14,2011. The registered agentforDefendantALG Lav ie isV CORP Services,LLC,

      1013 CentreRoad,Suite 403-B,W ilm ington,DE 19805. ALG Lav ie follow sa nam ing

      convention sim ilarto otherownership vehiclesaffiliated with DefendantsAsherLow and

      FormationCapital.Seeinfra!64.
             31. DefendantCMC 11lnvestors,LLC (CCCMC 11lnvestors'')isidentifiedbytheCM S
      nursing hom e ow nership databaseas one ofthe entiticsholding an indirectow nership interestof

      5% orm oreofproperties directly owned ll
                                             ny DefendantEpsilon H CP,including Defendant

      H illcrest. CM C 11Investorsis a lim ited liability com pany organized undcrthe lawsofthe State

      ofFlorida on D ecem ber l5,201l. 1tsprillcipalplace ofbusinessis 800 Concourse Parkway

      South,M aitland,FL 32751. Thataddressis the sam e asthe principalplace ofbusinessof
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 14 of 97




      D efendantEpsilon HCP. The annualreportsforCM C 11lnvestorsfiled with the Florida

      SecretaryofStateweresignedbyDefendantJosephConte(fçconte'')andindicatethatMr.Conte
      isthe K<m anager''ofCM C 11lnvestors. Tlle registered agentforD efendantCM C 1.
                                                                                    1lnvestorsis

      N oelle C.Herrm an,c/o Dias& Associates,LLC,5102 W .LaurelStreet,Suite 700,Tam pa,FL

      33607.

             32. DefendantColumbiaPacificOpportunityFund,L.P.(CtCPO Fund'')isidentified
      by the CM S nursing hom e ow nership database asone ofthe entitiesholding an indirect

      ownership interestof5% orm ore ofpropertiesdirectly ow ned by D efendantEpsilon HCP,

      including D efendantHillcrest. CPO Fund isa hcdge/privateequity fund organizetlas a lim ited

      partnership underthe law softhe State ofW ashington on February 15,2007. CPO Ftm d hasa

      grossassetvalueofapproximately $391.4 million.Thegovem ingpersonsofCPO Fundare
      ColumbiaPacific Advisors,LLC,a lim ited liability com pany organized tm derthe lawsofthe

      State ofW ashington on D ecem ber 14,2006. Approxim ately 30% ofD efendantC1?O Fund is

      ow nedby Colum bia Pacific Advisors,LLC orrelated persons. In an August18,2014 contract

      relating to GenesisHealthcare,lnc.'sm ergerw ith Skilled H ealthcare Group,lnc.,CPO Fund is

      listed asa m em berofa group ofinvestorsrun by DefendantForm ation Capital. The agreem ent

      providesthatany notice to be delivered to those investors,including CPO Fund,isto be
      delivered to Form ation Capitalon theirbehalf.The registered agentforD efendantCPO Fund is

      RSC Corporation,1201 3rd Avenue #3400,Seattle,W A 98101.

             33. DefendantFC InvestorsXXI,LLC (:iFClXXl'')isidentifiedbytheCM Sntlrsing
      home ownership database asone ofthe m ltitiesholding an indirectownership interestof5% or

      moreofpropertiesdirectly owned byDefbndantEpsilonHCP,including DefendantHillcrest.

      FClXXlisa private equity f'und organized underthe law softhe State ofDelaw are on
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 15 of 97




      Septem ber8,201l and has a gross assetvalue ofapproxim ately $175.2 m illion. Approxim ately

      11% ofthisfund isbeneficially owned by Formation Capitalorrelated persons.FclXXlis

      m anaged by an affiliate ofFormation Capital. Theregistered agentforDefendant FClXX1is

      Corporation Service Com pany,251Little FallsDrive,W ilm ington,DE 19808.

             34. DefendantFC LV Holdco,LLC (:TC LV Holdco'')isidentifiedbytheCMS
      ntlrsing hom e ownership database asone ofthe entitiesholding an indirectownership interestof

      5% orm ore ofpropertiesdirectly owned by DefendantEpsilon H CP,including D efendant

      Hillcrest. FC LV H oldco is a lim ited liability company organized underthe law sc.
                                                                                        fthe State of

      Delaware on August17,2012. The registcred agentf0rDefendantFC LV H oldco is Com oration

      Service Company,251 Little FallsDrive,W ilm ington,DE 19808.

                    DefendantFlolidaHealthCareProperties,LLC (ttFloridaHCP'')isidentifiedby
      the CM S nlzrsing hom e ownership database asone ofthe entiticsholding an indired ow nership

      interestof5% orm ore ofpropertiesdirectly owned by DefendantEpsilon HCP,including

      DefendantHillcrest. FloridaH CP isa lim ited liability com pany organized underthe laws ofthe

      State ofFlorida on July 30,2001. FloridaH CP isthe successor-in-interestto LV A cquisition 11

      LLC by w ay ofam ergerthatoccurred on December30,2011,and isthe solem em berof

      D efendantEpsilon HCP. Florida H CP'Sprincipalplace ofbusinessis 800 ConcourseParkway
      South,M aitland,FL 32751. Thataddressisthe sam easthe principalplace ofbusinessof

      Defendants Epsilon H CP,Consulate M anagem ent,Consulate Hea1th Care,CM C 11lnvestors,

      LVE M asterTenant4,LLC,and LVE Holdco,LLC. Thetwo m ostrecentannualreportsfiled

      withtheFloridaSecretaryofState(inApril2017andinApril2016)byFloridaHCP were
      signedbyDefendantDias(Officerin20l7,Presidcntin2016)andnamedDefendantUssery
      (Treasurer)asanç%authorizedperson.''The2015annualrepol'
                                                            tforFloridaHCP wassignedby



                                                     13
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 16 of 97




       D efendantRussellD .Ragland,Jr. asVicePresident. Theregistered agentforD efendantFlorida

       HCP isCom oration ServiceCom pany, 1201Hays Street,Tallahassee,FL 32301-2525.

              36.    D efendantGenoa HealthcareGroup, LLC (t
                                                           ûGenoa'')isidentified by theCM S
       nttrsing hom e ownership database as one ofthe entitiesholding an indirectownership interestof

       5% orm oreofproperties directly owned by DefendantEpsilon H CP, including D efendant

       Hillcrest. D efendantGenoa isa lim itcd liability com pany organized underthelaw softhc State

       ofDelaware on M ay 13,2005. Genoaw asacquiredby a group ofinvestorssponsored by

      DefendantForm ation Capital,including D efendantConsulate Health Care, ptlrsuantto a

      Septem ber2011m ergeragreem ent. The registered agentforDefendantGenoa is Corporation

      Service Com pany,251 Little FallsDrive, W ilm ington,DE 19808.

             37. DefcndantLV lnvestment,LLC (&dLV1'')isidentifiedbytheCMSsursinghome
      ownership database asone ofthe entitiesholding an indirectownership interestof5% orm oreof

      propertiesdirectly owned by D efendantEpsilon HCP, including DefendantH illcrest. Defendant

      LVlisa lim ited liability com pany organized underthe lawsofthe state ofDelaw areon

      Septem ber8,2011. Theregistered agentforD efendantLV lis Corporation Service Com pany,

      251 LittleFallsD rive,W ilm ington,D E 19808.

             38. DefendantLV Operations1,LLC (t&LVO-I'')isidtntifiedbytheCMSnursing
      hom eownership databaseasoneoftheentitiesholdingan indirectownership interestof5% or

      m oreofpropertiesdirectly ow ned by DefendantEpsilon H CP, including D efendantHillcrcst.

      LV O-Iis a lim ited liability com pany orgmlized underthe law softhe State ofDelaw are on

      September8,2011. The registered agentforD efendantLV O-Iis Corporation Service Com pany,

     251 LittleFallsDrive,W ilm ington,DE 19808.




                                                    14
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 17 of 97




             39. DefendantLV Operations1l,LLC (EtVO-1l'')isidentified bytheCM S nursing
      home ow nership database asone ofthe elltitiesholding an indirectownership interestof5% or

      m ore ofproperties directly owned by D efèndantEpsilon H CP,including DefendantH illcrest.

      LVO-1lisa lim ited liability com pany organized underthe law softhe State ofD elaware on

      Septem ber8,2011. DefendantsLV I,LV'
                                         O -1,and LV O-IIw ere a11form ed on thissam edate.

      Theregistered agentforDefendantLV O-11isCorporation Service Com pany,251 Littlc Falls

      Drive,W ilm ington,DE 19808.

             40. DefendantM CPLavie,LLC (tQMCP LaVie'')isidentifiedbytheCMSntlrsing
      hom e ownership database asone oftheentitiesholding an indirectownership interestof5% or

      m ore ofpropertiesdirectly owned by DefendantEpsilon H CP,including D efendantHillcrest.

      M CP Lavie isa lim ited liability com pany organized underthe law softhe State ofD elaware on

      Septem ber27,2011. M CP Lav ie follow sa nam ing convention sim ilarto otherow nership

      vehiclesaffiliatedwithDefendantsRobertHartmanandFormationCapital.Seeibfra!62.The
      registered agentforD efendantM CP La V ieisCorporation ServiceCompany,251 Little Falls

      Drive,W ilm ington,DE 19808.

             41. DefendantSayLaVieLLC (46SayLaVie'')isidentifiedbytheCMSnursing
      hom e ownership database asoneofthe entitiesholding an indirectownership interestof5% or

      m ore ofpropertiesdirectly owned by D efendantEpsilon HCP,including DefendantHillcrest.

      D efendantSay La V ie is a lim ited liability company organized underthc law softlle State of

      D elaw are on October4,2011. Theregistered agentforD efendantSay La V ie isCorporation

      Servicc Com pany,251LittleFalls Drive,W ilm ington,DE 19808.

             42. DefendantSeniorCareLavie,LLC (tlseniorCareLaVie'')isidentisedbythe
      CM S ntlrsing hom e ownership database as one ofthe entitiesholding an indirectow nership



                                                     15
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 18 of 97




      interestof5% orm ore ofpropertiesdirectly ow ned by DefendantEpsilon H CP,irtcluding

      D efendantH illcrest. D efendantSeniorCare Lavieisa lim ited liability com pany organized

      underthe law softhe State ofDelaw are on Septem ber28,2011. The registered agentfor

      D efendantSeniorCare Lav ie is The Conloration TrustCompany,Corporation TnzstCenter,

       1209 Orange Street,W ilm ington,DE 19801. ScniorCare Lav ie follow sa nam ing convention

      shared by otherentitiesow ned by oraffiliated with DefendantDavid Reis,including entities

      such asSeniorCarc Developm ent,LLC ;'
                                          SeniorCare Holdings,LLC;and SeniorCareG enesis,

      LLC.Seeinh.a!72.
             43.     Defendant 1995 D avid ReisFam ily Trustis identified by the CM S nursing hom e

      ownership database asone ofthe entities bolding an indirectownership interestof5% orm ore of

      facilitiesdirectly owned by D efendantEpsilon HCP,including D efendantHillcrest. Defendant

      D avid Reisisa tnzstee ofthis trtzst. On inform ation and belief,theaddress forthe 1995 David

      ReisFam ily Trustis 234 Church Street,Suite 901,N ew Haven,CT 06510.

             44.     The entity defendantsidentified in paragraphs30 through 43 are collectively

      referred to herein asthetçlnvestorD efendants.'' On information and belief,the Investor

      D efendantsare subsidiariesoraffiliatesof.D efendantForm ation Capital,orare ow ned by or

      affiliated with an individualaffiliated w itllForm ation Capital. Collectively,the lnvestor

      Defendants,togetherw ith individualDefendantsConte,N euberger,Hartm an,Low ,and Reis,

      hold substantialownership interestsin,and are ableto cxercise operationalcontrolover,

      facilities directly owned by D efendantEpsilon H CP,including DefendantH illcrest.

             E.      The Landlord D efendantl
                                            i

             45.     DefendantLVE MasterTenant4,LLC (ûCLVE MasterTenanf')isalimited
      liability company organized underthelaw softhe State ofD elaw are on August24,2015. lts



                                                      16
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 19 of 97




      principalplace ofbusiness istçc/o Lavie fwMare Centers,LLC''at800 Concourse Parkw ay South,

      M aitland,FL 32751. On July 1,2016,DefendantLVE M asterTenantentered into a sublease

      with DefendantHillcrestforthe HillcrestHea1th Care and Rehabilitation Centerfacility. The

      M em orandum ofSublease forthistransaction was signed by D efendantRussellD .Ragland,Jr.

      forboth partiesto the agrtem ent- asthe CFO ofDefendantLV E M asterTenant,and asthe CFO

      ofD efendantH illcrest. The m ostrecentannualreportforD efendantLV E M asterTenantfiled

      with theFlorida Secretary ofState in April2017 was signed by D efendantDanielE.D iasasan

      Officer. M r.D iasalso signed the June 2016 application forD efendantLVE M asterTenantto

      conductbusiness in the State ofFlorida. Thatapplication nam ed DefendantLVE H oldco,LLC

      asthe com pany'ssolem em ber. Theregistered agentforD efendantLVE M asterTenantis

      Cop oration Service Com pany,251LittleFallsDrive,W ilm ington,DE 19808.

             46. DefendantL'
                           VE Holdco,LLC (CtLVEHoldco'')isalimitedliabilitycompany
      organized underthe laws ofthe State ofE'
                                             lelaw are on August31,2015. DefendantLVE Holdco

      istheparentcom pany and solem em berofDefendantLVE M asterTenant. ltsbusinessaddress

      ist'c/o Lav ie Care Centers,LLC''at800 ConcourseParkway South,M aitland,FL 32751. The

      registered agentforD efendantLV E H oldco is Corporation Service Com pany,251LittleFalls

      Drive,W ilm ington,DE 19808.

             47. DefendantFC EncoreHollywood,LLC (ttFC EncoreHollywood'')isalimited
      liability company organized underthe lawsofthe State ofFlolida on Septem ber4,2015. 1ts

      principalplace ofbusinessis3500 Lenox Road NE,Suite510,Atlanta,GA 30326. Itsharesthis

      office with D efendantForm ation Capital. On inform ation and belief,D efendantFC Encore

      Hollpvood isa subsidiary oraffiliate ofIlefendantForm ation Capitaland is theownerofthe

      realproperty used by D efendantHillcrest. Hillcrest's2015 M edicaid CostReporttiled with
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 20 of 97




      AHCA identified D efendantFonuation Capitalas arclated landlord. See Hillcrest2015 Cost

      Reportat51. The m ostrecentannualreportforDefendantFC Encore Hollm ood filed with the

      Flolida Secretary ofState in April2017 w assigned by non-party ScottBrown and nam ed

      DefendantFC EncoreManager,LLC (tTf
                                       ,
                                       JEncoreManager'')asthecompany'smanager.Non-
                                       -
      party ScottBrow n isthe M anaging D irectorofPortfolio M anagem entatD efendantForm ation

      Capital. D efendantFC Encore Hollywood entercd into a m asterlease agreem entwith Defendant

      LVE M asterTenanton July 1,2016. The M em orandum ofM asterLeasew assigned by non-

      party StephanieH am nerasan authorized officerofDefendantFC EncoreH ollywood,LLC. M s.

      H am neristhe SeniorV ice PresidentofAssetM anagem entatDefendantForm ation Capital.

      Thatsam em onth,theH illcrestproperty wastransferred by SpecialW arranty Deed to D efendant

      FC EncoreH ollywood by non-party FC E'
                                           m core CoreProperties,LLC. The registered agentfor

      D efendantFC Encore Hollywood is Corporation Service Com pany,1201H aysStreet,

      Tallahassee,FL 32301.

            48.    D efendantFC Encore M anagerisa lim ited liability company organized underthe

      law softhe State ofD elaw are on Septem ber2,2015. On inform ation and belief,DefendantFC

      Encore M anagerisa subsidiary oraffiliat'
                                              zofDefendantForm ation Capitaland is the m anagerof

      DefendantFC Encore Hollywood. D efendantFC Encore M anager'sprincipalplace ofbusiness

      is 3500 Lenox Road N E,Suite 510,A tlanta,GA 30326. Itsharesthisoftice with D efendant

      Fonnation Capital. ln July 2016,non-party StephanieH am nersigned the SpccialW arranty

      DeedtransfeningtheHillcrestproperty ffom non-pao FC EncoreCoreProperties,LLC to
      DefendantFC Encore Hollywood,asan authorized officerofDefendantFC EncoreM anager,

      m anagerofnon-party FC Encore Core Properties,LLC. The registered agentforDefendantFC

      Encorc M anageris Corporation Servicc C'ompany,251Little FallsDrive,W ilm ington,DE



                                                  18
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 21 of 97




      19808.

             49.    The entity defendants identificd in paragraphs45 through 48 are collectively

      referred to asthe ttLandlord Defendants.''

             F.     The G enesisD efendants
             50.    D efendantG enesisEldercareRehabilitation Services,LLC d/b/a G enesis

      RehabilitationServicesCtGenesisRehab'')isalimitedliabilitycompanyorganizecltmderthe
      laws oftheCom m onwea1th ofPennsylvallia on January 30,2015. ltisthe survivorofa2015

      m ergerw ith,and isthe successorin interestand liability to,GenesisEldercare Rehabilitation

      Services,Inc.,a corporation organized underthe laws ofthe Com m onw ealth ofPennsylvania on

      Novem ber28,1986. lts corporate officesare located at10l EastState Street,K ennettSquarc,

      PA 19348. According to itswebsite,GenesisRehab providesKçphysicaltherapy,occupational

      therapy,speech therapy,respiratory theral
                                              py,and w ellnessservices,prim arily forthe olderadult

      populationy''and çtpartnersw ith skilled nursing centers''to providethese services. See

      http://w ww .genesisrehab.com /.A ccording to m ultiple SEC tilingsby DefendantGenesis,

      GenesisRehab hasentered into hundredsofagreem entswith ConsulateH ealth Care facilities,

      underwhichtheConsulatefacilitiespaidGenesisRehabpotentially in excessof$l50 million in

      2014,$160 million in 2015,and$155million in2016.Duringatleastpartofthistime,the
      agreem entsbetween GenesisRehab and the ConsulateH ealth Care SN FSw erenotapproved by

      the auditcom m ittee ofthe board ofdirectorsofGenesis,cven though both G cnesisand

      Consulate Hea1th Carew ere both owned and controlled by affiliatesofDefendantFormation

      Capital. GenesisRehab is a directsubsidiary ofDefendantG enesisH oldingsLLC'
                                                                                 ,and an

      indirectsubsidiary ofD efendantG enesisH ealthcare,lnc.Theregistered agentfol'D efendant
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 22 of 97




      GenesisRehab isCom oration Service Com pany,2595 InterstateDrive,Suite 103,Harrisburg,

      PA 17110.

            51. DefendantGenesisHoldingsLLC (ûtGenesisHoldings'')isalimitedliability
      com pany organized underthe law softhe State ofDelaware on O ctober7,2014. Defendant

      GenesisH oldingsisthepartntcom pany cl
                                           '
                                           fG enesisRehab,adirectsubsidiary ofD efendant

      GenesisH ealthcare LLC,and an indirectsubsidiazy ofDefendantGenesisH ealthcare,lnc. 'Fhe

      registered agentforD efendantG enesisH flldingsisCorporation Service Com pany,251 Little

      FallsDrive,W ilm ington,DE 19808.

             52. DefendantGenesisHealthcareLLC (dtGenesisHC'')isalimitedliabilitycompany
      organized underthe laws ofthe State ofDelaw are on August9,2010. DefendantGenesisHC is

      theparentcom pany ofD efendantGenesisH oldings,adirectsubsidiary ofDefendantGEN
      Operations11,LLC ,and an indirectsubsidiary ofD efendantG enesisH ealthcare,lnc. The

      registered agentforD efendantG enesisH C is Corporation Service Com pany,251 LittleFalls

      Drive,W ilmington,D E 19808.

                    DefendantGEN Operations11,LLC (CtGEN Operations11')isalimitedliability
      com pany organized underthe law softhe StateofDelaware on August9,2010. D efendantGEN

      Operations11isthe parentcom pany ofDefendantGenesis HC and a directsubsidiary of

      DefendantGEN Operations1,LLC .ltisan indirectsubsidiary ofD efendantG enesisH ealthcare,

      lnc. Thercgistered agentforDefendant(JEN Operations11is Corporation Service Com pany,

      251LittleFallsDrive,W ilm ington,DE 19808.

             54. DefendantGEN Operations1,LLC (ttGEN Operations1*)isalimitedliability
      com pany organized underthe law softhe StateofD elaware on August9,2010. DefendantGEN

      Operations1isthe parentcompany ofD efendantGEN Operationsll,LLC and a direct
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 23 of 97




     subsidiary ofDefendantFC-GEN Operatitlnslnvestm ent,LLC. ltisan indirectsubsidiary of
     D efendantG cnesisH ealthcare,lnc. Theregistered agentforD efendantGEN Operations lis

      Corporation Service Com pany,251 Little FallsDrive,W ilm ington,D E 19808.

            55. DefendantFC-GEN Operationslnvestment,LLC (6CFC-GEN'')isalimited
      liability com pany organized underthe law softhe State ofDelaw are on August9,2.
                                                                                     010.

      D efendantFC-GEN is theparentcom pany ofD efendantGEN O perations 1,a directsubsidiary

      ofDefendantSun H ealthcare Group,lnc.,and an indirectsubsidiary ofD efendantGenesis

      Healthcare,Inc. The registered agentforDefendantFC-GEN isThe Com oration rl'
                                                                                 rust

      Com pany,Corporation TrustCenter,1209 Orange Street,W ilm ington,DE 19801.

             56.    DefendantsFC-GEN ,GEN Operations1,and GEN Operations11areultim ately

      controlled by DefendantGenesisHealthcare,lnc.and do nothave independentdecision-m aking

      authority orseparate corporate officers. In an April2016 financing agreem entbetween

      D efendantsGenesisH ealthcare,Inc.,FC-GEN ,GEN Operations1,and GEN Operations11,for

      exam ple,M ichaelS.Sherman signed theagreem enton behalfofeach ofthosefourentities asthe

      SeniorVicePresident,Secretary,and A ssistantTreasurerofeach.

             57. DefendantSunHealthcareGroup,lnc.(çtsunHealthcare'')isacomoration
      organized underthe law softhe StateofD elaware on D ecem ber 11,2002. DefendantSun
      H ealthcare istheparentcom pany ofDefendantFC-GEN and a directsubsidiary ofDefendant

      GenesisHealthcare,lnc.Theregistered agentforDefendantSun H ealthcare is Corporation

      ServiceCom pany,251LittleFalls Drive,W ilm ington,DE 19808.

             58. DefendantGenesisHealthcare,Inc.(çtGenesis'')isacomorationorganizedunder
      the laws oftheState ofD elaw are on October21,2005.Itscorporate ofticesarelocated at101

      EastState Street,K ennettSquare,PA 19348. DefendantGenesis isa publicly-traded company




                                                    21
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 24 of 97




     that,with and through its subsidiaries,owlysand operatesskilled nursing facilitiesand
      assisted/seniorliving facilitiesin the United States. Priorto Febrt
                                                                        zary 2015,G enesiswas

      privately ow ned by privateinvestorssponsored by affiliatesofD efendantFormation Capital.

      The registered agentforD efendantG enesisis Corporation Service Com pany,251Little Falls

      Drive,W ilm ington,D E 19808.
             59.    TheG enesisDefendantsprovided rehabilitativetherapy atthe facility nzn by

      D efendantHillcrest,in addition to otherfacilitiesnm by thc M anagerDefendants,and w ere

      com pensated bmsed on the M edicare and TRICARE reim bursem entsreceived by tbe facility. A s

      furtheralleged below ,D efendantG enesisknow ingly participated in the subm ission offalse or

      fraudulentstatem ents and claim sto M edicare and TRICARE.D efendantG enesis!Lsa clientof

      Formation Healthcare Group,a division ofD efendantForm ation Capitalasdescribed in greater

      detailbelow.Seeinfra!79.According to SEC filingsby DefendantGenesis,priortoFebruary
      2,2015,DefendantGenesisw aswholly owned by private investorssponsored by affiliatesof

      DefendantForm ation Capital.
             60.     The entity defendants identitied in paragraphs 50 through 59 are collectively

      referred to herein asthe ttGenesisDefendants.''

              G.     T he IndividualDefendants
              61. DefendantJoseph(t7oe')D.Conte(''Conte'')isidentifiedbytheCMS nlzrsing
      hom e ow nership database as one ofthe individualsholding an indirectownership intcrestof5%

      orm ore offacilitiesdirectly owned by DefendantEpsilon H CP,including DefendantHillcrest.

      M r.Conteco-foundedDefendantConsulateHea1thCare(knownatthetimeofitsfoundingas
       Gt-randem HealthCare'')andwasitsCE0 untilSeptemberl4,2015,whenhewaspromotedto
       ExecutiveV icc Chairm an. M r.Conte wasCEO ofConsulate H ea1th Care atthe tim ethat




                                                      22
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 25 of 97




       DefendantForm ation Capitalinstalled Consulate Health Care to m anagethenursii
                                                                                    ng hom esin its

       Lav ie Care Centersportfolio,including DefendantHillcrest. M r.Contesigned every annual

       reportfiled by DefendantCM C 11lnvestorsw ith the Florida Secretary ofState asthe Etm anager''

       ofCM C 11Investors. M r.Conte also signed the 2012 annualreportforDefendantCM C lI,LLC

       asitsççm anager.'' On inform ation and belief,M r.Conte residesat550 V ia Lugano,W interPark,

       FL 32789.

              62. DefendantRobertHartmanCtl-lartman''lisidentifiedbytheCM Snursinghome
       ownership database asone ofthe individualsholding an indirectownership interestof5% or

       m ore offacilitiesdirectly ow ned by DefendantEpsilon HCP,including D efendanrHillcrest. An

       April2017 SEC filing by D efendantG enesisstatesthatM r.H artm an isan indirectownerof

       DefendantConsulate Hea1th Care. On inform ation and belief,M r.H artm an isan investorw ith

       oraffiliateofForm ation Capital,w hich listsLav ie Care Centers on itsw ebsite asan

       ddunrealized''holding w ithin the portfolio ofForm ation Capital. M r.Hartm an is also affiliated

       w ith m ultiple com panies affiliated with Form ation Capital,including M CP Genesis,LLC and

       M idway G en Capital,LLC,and the RobertH artm an Fam ily Tnzst,a11ofw hich w ere represented

       by Form ation Capitalin connection with Form ation Capital'sm ergerofGenesisllealthcare,Inc.

      w ith Skilled H ealthcare Group,Inc. M r.Hartm an hasbeen aG enesis directorsince2015. On

      information and belietlM r.Hartman'sbtl
                                            ksinessaddressis6633N.Lincoln Avenue,
      Lincolnwood,IL 60712.

                      DefendantIsaacM .Neuberger('Weuberger'')isidentifiedbytheCM Snursing
      hom e ownership database asone ofthe individualsholding an indirectow nership interestof5%

      orm ore offacilities directly ow ned by D efendantEpsilon HCP,including Defendi
                                                                                    m tH illcrest.

      Mr.NeubergerisapartneratNeuberger,Quinn,Gielen,Rubin,andGibber,P.A.Mr.Neuberger



                                                       23
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 26 of 97




       isan indirectow nerofDefendantLav ie Care Centers,LLC and is an investorw ith oraffiliate of

       Formation Capital. M r.N eubergeristhem anaging m emberof 14 entitiesthathold ow nership

       interestsin D efendantG enesis,and hasbeen granted observerrightson the GenesisBoard of

       D irectors. M r.N eubergeris also affiliated with multiple com paniesrepresented by Form ation

       Capital,including G azelle Gen,LLC and M id AtlanticH calthcare Investors,LLC. On

       information and belief,M r.N euberger'sbusinessaddressisO ne South Street,27th Floor,

       Baltim ore,M D 21202.

              64. DefendantAsherLow CçLow'')isidentified bytheCM S ntlrsinghomeownership
       database asone ofthe individualsholding an indirectownership interestof5% orm oreof

       facilities directly owned by D efendantEpsilon H CP,including DefendantHillcrest. A ccording

       to aJuly 2016 SEC filing,M r.Low wasthebeneficialom zerofG enesisH ealthcare,lnc.

       securitiesheld by ALG G enesis,LLC. M r.Low isidentified in filingsby DefendantGenesis as

      them anagerofALG Genesis,LLC. ALG Genesis,LLC is an affiliate ofD efendamtForm ation

       Capitalthatheld an ownership interestin D efendantGenesispriorto Febnzary 20 l5. ln an

       August18,2014 contractrelating to D efendantGenesis'sm ergerw ith Skilled H ealthcare Group,

       Inc.,A LG G enesis islisted as am em berofa group ofinvestorsrun by DefendantForm ation

       Capital.The agreem entprovidesthatany notice to be delivered to those investors,including

      ALG G enesis,isto be delivered to D efendantForm ation Capitalon theirbehalf. On infonnation

      and belief,M r.Low 's addressis 7 ToriDrive,Lakew ood,N J08701.

              65. DefendantChristopher(çç(>
                                          -hris'')BrysontE%l'
                                                            yson''lisidentifiedintheCM S
      nursing hom e ownership database as one ofthe individualshaving operational/m anagerial

      controlofDefendantHillcrest.Mr.BrysonwasChiefOperatingOfficer(içCOO'')ofConsulate
      Health Care from Septem ber2015 to Septem ber2016,and has served asCEO ofConsulate



                                                     24
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 27 of 97




      Health Care since Septem ber2016. Priol'to being nam ed COO in 2015,M r.Bryson served asa

       senioradvisorto DefendantForm ation Capital.M r.Blyson'sprincipalplace ofbusinessis800

       ConcourseParkway South,M aitland,FL 32751.

              66.   D efendantDanielE.Diasis identified in the CM S nursing hom eownership

       databaseasone ofthe individualshaving operational/m anagerialcontrolofD efendantH illcrest.

      M r.Diashasbeen the ChiefCorporate CounselforConsulate H ea1th Care since January 2013,

       afterserving asoutsideCorporate Counselsince2006.M r.Diashassigned annualreports filed

      w ith theFlorida Secretary ofState foratleastfive Defendants,including the 2016 annualreports

       forDefendantEpsilonHCP (asPresident),DefendantFloridaHCP (asPresident),andDefendant
       Hillcrest(asPresidentofitsmember,EpsilonHCP),andthe2017annualreports1brDefendant
       LVE M asterTenantand D efendantConsulate M anagem ent. The principalplaceofbusinessfor

      M r.Diasis800 Concourse Parltway South,M aitland,FL 32751.

                    N on-party Dias & Associates,P.A .isa 1aw firm thatservesasthe in-house

       counselto D efendantConsulate Health Care,am ong others. DefendantD iasisaprincipalof

       Dias& Associates,P.A . Dias & A ssociates,P.A .isthe successorcounselforD efbndant

       ConsulateH ealth Care to M ancuso & Dias,P.A .,in which D efendantDiasw as also aprincipal.

       DefendantDiasand/orhis1aw firm shave sim ultaneously represented multiple ofthe

      D efendantssincluding DefendantsConsulateH ealth Care and ConsulateM anagem ent,indicating

      thatthose defendantshave a unity ofinterests.

             68. DefendantRussellD.Ragland,Jr.(EtRagland'')isidentifiedintheCMSnursing
      hom eownership database as one ofthe individualshaving operational/m anagerialcontrolof

      D efendantH illcrest. M r.Ragland w asthe CF0 ofConsulateH ealth Care from July 2014 until

      hisretirem entin October2017.A ccording to annualreportsfiled with the Florida Secretary of



                                                      25
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 28 of 97




      State and realestate transactionsrecorded with the Broward County Clerk,M r.Ragland held

      sim ilarpositionsofauthority in otherD efbndantentities,including CFO ofD efendantHillcrest;

      VicePresidentand CFO ofD efendantEpsilon HCP;Vice PresidentofDefendantFlorida HCP;

      CFO ofD efendantConsulate M anagem ent;and CFO ofD efendantLVE M asterTenant. On

      information andbelietlM r.Raglandresidesat4451GulfShoreBoulevardNorth,Apartment
       1402,Naples,FL 34103.
             69.    D efendantKenneth Ussery is identified in the CM S nursing hom eownership

      database asone ofthe individualshaving operational/m anagerialcontrolofDefendantHillcrest.

      M r.Ussery isthe SeniorV icePresidentofRevenue CycleM anagem entand Treasury Services

      forConsulateHealth Care. A ccording to the m ostrecentannualreportsfiled with the Florida

       Secretary ofState forDefendantEpsilon HCP and DefendantFlorida HCP in A pril2017,M r.

      U ssery isthe Treasurer forboth ofthese entities. M r.U ssery'sprincipalplace ofbusinessis800

      ConcourseParkway South,M aitland,FL 32751.

              70. DefendantTroyM .Antonik(çtAntonik''
                                                    )wasMr.Ragland'spredecessormsCF0
       ofConsulate Health Care from D ecem ber2011 to July 2014. M r.Antonik signed the 2012

       tllrough 2014 annualreports filed w ith theFlorida Secretaly ofState forDefendantEpsilon HCP

       and DefendantFloridaHCP astheirVicePresidentand/orCFO,andthe2013 and2014 annual

      reportstiled w ith the Florida Secretary ofState forDefendantConsulate M anagetnentas its
       CFO. M r.A ntonik'sprincipalplace ofbusinessis l14 W estFirstStreet,Suite 218,Sanford,FL

       32771.

              71. DefendantJeffreyK.Jellerson(çllellerson'')wasExecutiveVicePresidentand
       C0O ofConsulate Hea1th Care from July 2006 untilapproxim ately Septem ber2015,w hen he

       w assucceeded by M r.Bryson asCOO .M r.Jellerson signed the2015 annualreportsfiled w ith



                                                    26
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 29 of 97




       theFlolidaSecretary ofStateforDefendantEpsilonHCP (asPresidentandCEO),forDefendant
      FloridaHCP (asPresident),and forDefendantConsulateM anagement(asitsC0O).M r.
      Jellerson w asidentified ashaving sim ilal'roles in filingsforDefendantEpsilon H CP and

      D efendantFlorida HCP,LLC in 2012 through 2014. On information and belief,M r.Jellerson

      residesat7057 HighfieldsFarm D rive,Roanoke,VA 24018.

             72. DefendantDavidReis(ttReis'')isorwas,throughanaffiliatedcompany,apartner
      and investorw ith DefendantFormation Capital,and isan indirectownerofDefendantConsulate

      Health Care.A n April2017 filing w ith the SEC by DefendantG enesiscontirm ed thatDefendant

      Reisindirectly holds ow nership interests in Consulate Hea1th Care,w hich thatfiling describesas

      asubsidiary ofDefendantConsulateHea1th Care(i.e.,LavieCareCenters,LLC).M r.Reishas
      been adirectorofDefendantGenesissincc 2015. M r.Reisw asalso an ownerofDefendant

      Genesisdtlring the tim e itwasplivately held exclusively by affiliatesofD efendantFonnation

      Capital. According to the w ebsite ofSeniorCare Developm ent,LLC,an affiliateofM r.Reis,

      M r.ReisistçM anaging M ember''ofseveralaffiliates,including SeniorCare Holdings,LLC,

      tllroughwhichheisorwastEbothapartnerandinvestorin(DefendantjFormationCapital,LLC''
      deals,including Form ation Capital'stakeoverofDefendantGenesis. A ccording t()the Senior

      CareD evelopm ent,LLC w ebsite,M r.Reishastaken an active role in the m anagernentof

      DefendantGenesisand tthelpged)toengineer''thettevolution''ofGenesisbetween 2007and
      2015.SeehtT ://-     .seniorcaredeveloplr
                                              nent.com/teamReis.php.On information andbelietl
      M r.Reisresides at240 Riverside Boulevard,Apt.21B,N ew Y ork,N Y 10069.

                    DefendantArnoldM .W hitman(tlW hitman'')isaco-founderandChairmanof
      DefendantForm ation Capital,LLC,and hasbeen a directorofD efendantGenesissince 2015.

      AtlApril2017 SEC filing by DefendantGenesisconfirm ed thatM r.W hitm an isa11indirect



                                                    27
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 30 of 97




      ow nerofD efendantConsulate Health Care. M r.W hitm an'sprincipalplaceofbusinessis3500

      Lenox Road NE,Suite 510,Atlanta,GA .$0326.

              74. DefendantStevenE.Fishrnan(ttFishman'')isaco-founder,President,andCo-
      Chairm an ofDefendantForm ation Capital,LLC and served asChairm an oftheBoard of

      D irectorsofDefendantG enesisfrom February 2,2015 untilApril2017. An April2017 SEC

      filing by DefendantG enesiscontirm ed thatM r.Fishm an isan indirectownerofD efendant

      Consulate Hea1th Care. M r.Fishm an'sprincipalplace ofbusinessis3500 Lenox Road N E,

      Suite 510,A tlanta,GA 30326.
              75.   The individualdefendants identified in paragraphs61 through 74 are collectively

      refen-ed to herein as the tçlndividualDefendants.''Each ofthe IndividualDefendants isan

      affiliate ofForm ation Capitaland/orwashand-picked by Form ation Capitalto hold an executive

      position ata company ow ned orcontrolled by Form ation Capital,including ConsulateH ealth

      Care.

              H.    Form atlon Capital

                    D efendantForm ation Capitalisa lim ited liability com pany organized underthe

      law softhe Com m onw ea1th ofPennsylvania on Decem ber22,1998 and re-dom esticated under

      the lawsofthe State ofGeorgia on M ay 3,2007. 1tsprincipalplace ofbusinessis 3500 Lenox

      Road N E,Suite 510,Atlanta,GA 30326. DefendantForm ation Capitalisaprivatc invcstm ent

      firm thatfocuseson seniorhousing and care,post-acute care,and related realestate investm ents.

      ln 2011,Form ation Capitalled a group orinvestorsthatacquired ow nership and controlof

      D efendantGenoa,through theirsubsidial'iesoraffiliatesD efendantsConsulate Health Care and

       Consulate M anagcm ent. Form ation Capitalcontinuesto listD efendantConsulateH ealth Care,

       a/k/aLavieCareCenters,asan ttunrealized''investmentwithin itsportfolio.Hillcrest's2015



                                                   28
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 31 of 97




      M edicaid CostReportfiled w ith A HCA identified ttFonnation Capital''asthe 100% ownerof

      H illcrest. SeeHillcrest2015 CostRepol'tat51. Theregistcred agentforD efendantForm ation

      Capital,LLC isCorporation ServiceCom pany,40 Technology Parltw ay South,#?00,Norcross,

      GA 30092.
             77.     Form ation Capitalisthe ultim ate decision-m akerthatexercises controloverthe

      operationsofSN FSheld by itssubsidiaries,including DefendantsHillcrestand Epsilon HCP.

      Formation Capitalselectsand overseesthem anagem entteam sthatrun the facilities.For

      example,an industry observerreported shortly afterForm ation Capital's acquisition of

      DefendantGenoain 2011thatGtFormation hashiredgDefendantjConsulateM anagementtrunby
       (DefcndantjJoeConte)tomanagetheproperties.''2011SeniorCareStockReturns,The
      SeniorcareInvestor,(Jan.2012),availableat
      hûpsr//-     .levinassociates.coe sites/defaulviles//pdf/ scipdfs/zolz/lzolsci.pdf.

                     Form ation Capitalexercisesdirectoperationalcontroloverthe SN17s in its

      portfolio,including D efendantHillcrestand othcrSN FSin the StateofFlorida. Forexample,

       according to an April24,2015 SEC filing by D efendantG enesis,in 2014 when affiliatesof

      D efendantForm ation Capitalprivately owned DefendantGenesisand owned Consulate Hea1th

       Care and ConsulateM anagem ent,D efendantGenesis entered into approximately 180 agreem ents

      with ConsulateM anagement-run SNFSandmayhavereceivedmorethan $150mr
                                                                        illionin 2014
       through thatarrangem ent. On infonnation and belief,this arrangem entcam e into being only

       afteraffiliates ofD efendantFonuation Capitalacquired D efendantGenoa;previously,a different

       rehabilitation com pany,w hich w asnotowned by Form ation Capitalaffiliates,had provided

       selvicesatthe SN FSpursuantto service agreem ents.
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 32 of 97




             79.    On itswebsite,Form ation Capitaldescribesits executivesasçtan experienced

      m anagem entteam w ith expertise in healtllcare.'' http://fo= ationcapital.coe abouGs.php.

      Form ation Capitalexercises directcontrolovertheoperations ofitsportfolio holdings,including

      LavieCareCenters(ConsulateHealthCare).Itadvertisesthatitcreatesaspecificçç
                                                                               business
      plan foreach investm ent''itholds. Form ation Capitalalso advertisesthatitm onitorsitsholdings

      (whichincludeLavieCareCenters,i.e.,ConsulateHealthCare,andConsulateM lmagement)
      throughadivisioncalledFormationHealthcareGroup(tTormationHealthcare'').Accordingto
      itswebsite,Fonnation H ealthcareisan in-houseadvisory group ttthattracks,trends,benchm arks,

      analyzes,and reportson the clinicalperform ance and regulatory compliance ofoperatorsand

      theirfacilities.''hdps://-   .fo= atioe ealthcare.coe about. Through itsFormation Healthcare

      division,D efendantForm ation Capitalobtains Girealtim c facility infonuation''and.Kt
                                                                                          on site

      facility visits''to allow itto m onitorthe SNFSin itsportfolio,including D efendantH illcrest. The

      website furtherstatesthatForm ation Capitalcreatesa 'sm anagem entsystem ''and 'tprovidesthe

      platform for''SNFSin itsportfolio. Through thism onitoring and activem anagem cnt,Form ation

      Capitalw asaware ofand encouraged the illegalconductdescribed herein ata11relevanttim es.

              80.    Priorto February 2,2015,D efendantForm ation Capitalcontrolled Defendant

       Genesisthrough exclusive ow nership ofthecompany directly and/orthrough affiliates. Since

      Fcbnlary 2,2015,Form ation Capitalhascontinued to controlGenesisthrough Overlapping
      directoratesand officers. From February 2,2015 untilApril7,2017,one ofForm ation Capital's

      two co-founders,D efendantSteven Fishm an,servcd as Chairm an ofthe Board ofDirectorsof

       DefendantGenesis.lnaddition,since2015,DefendantArnoldW hitman(theotherco-founder
       ofFormationCapital),DefendantReis(apartnerandinvestorwithFormationCapital),and
       DefendantHartman(an investoraffiliatedwithFormationCapital),havealsoseneedonthe



                                                     30
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 33 of 97




      Board ofDirectors ofD efendantG enesis. According to an April20l7 SEC tiling by Defendant

      Genesis,DefendantsFishm an,W hitm an,Reis,and Hartm an,togetherw ith Defendant

      Neuberger,arethebeneficialownersofamajorityoftheownershipinterestsinDefendant
      ConsulateH ealth Care.
             81.     The IndividualD efcndantsand Form ation Capitalrely on and use each ofthe

      otherDefcndantsnam ed above to help prom ote theirfraudulentschem e,shield them selvesfrom

      liability,and diverttheproceedsfrom thatschem e in an effortto m ake enforcem entand recovery

      difficult. The otherentity defendants,and particularly theLandlord D efendantsand the Investor

      D efendants,do notconductoperationsindependentofFormation Capital,do notexercise

      independentdecision-m aking authority,and are effectively used forthe solepurposeof

      providing financialsupportforForm ation Capitaland the lndividualDefendants.

              82.    M any ofthe defendantsshare offices.Forexam ple,al1tllreeM anagem ent

      Defendants,CM C 11Investors,Florida HCP,LV E M asterTenant,and LV E Holdco allshare the

      sam e oftk ein M aitland,Florida.D efendantsFC Encore Hollm ood,FC Encore M anager,

      H CCF,and DefendantForm ation Capitala1lsharethe sam e officein Atlanta,Georgia. Other

       entity defendants,whoseprincipalplacesofbusinessare asyetunknow n,also likely share those

       offices. Sim ilarly,each IndividualD efendantisaffiliated with m ultiple entity defèndants

       through overlapping ow nership,directorate,and ofticerstructures.
                         GOVERNM ENT HEI
                                       A LTH INSUM NCE PROGRAM S
          A . H ealth Insurance Through M edicare
              83.     TheH ea1th lnsurance fortheAged and Disabled Program ,popularly know n asthe

       M edicareProgram ,w asestablished by TitleX VIIIofthe SocialSecurity Act,42 U.S.C.

       jj1395,etseq.(hereinafterttM edicare''h2.M edicareisahealthinsuranceprogram administered
                                               ,



       by the Governm entoftheU nited Statesthatisfunded by taxpayerrevenue. M edicare is


                                                      31
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 34 of 97




       overseenbytheUnited StatesDepartmentofHea1th andHuman Services(tQHHS'')throughthe
       CentersforM edicareandM edicaid Services(CM S).
              84.    M edicare isdesigned to be ahealth instlrance program and to provide forthe

       paym entofhospitalservices,skilled nursing services,rehabilitation services and (ltlrablem edical

       equipmenttopersonsoversixtpfive(65)yearsofage,andcertainothereligibleindividuals.
              85.    Reim bursem entforM edicare ism adeby theUnited Statesthrough CM S, which

       contractswith private insurance carriersreferred to asM edicare Adm inistrative Contractors

       (ttMACs'')toadministerandpayclaimsfrom theMedicareTrustFund.See42U.S.C.jj1395h,
       1395u. In thiscapacity,M ACS acton behalfofCM S.

                     M edicare doesnotgenerally pay forlong-term care. How ever,M edicarePartA

      w illpay form edically necessary servicesprovided by a SN F forup to 100 daysto aresidentwho

      hasbeen recently discharged from a hospitaland isin need ofskilled nursing servicesto recover

      from hospitaltreatment.See42U.S.C.jj1395d(a)(2),1395f(a)(2)(B);42C.F.R.jj424.20-.36.
             87.     M edicare paysforSNF care in two w ays: directly,through theProspective

      PaymentSystem (tTPS''),orindirectlythroughM edicareAdvantageplansestablishedunder
      M edicare PartC.

             1.      FederalRegulation ofSNFSR eceiving M edicareR eim bursem ent

             88. lntheOmnibusBudgetReconciliationActof1987 (ç<OBltA''),Congressimposed
      anumberofrequirem ents on SNFSreceiving M edicarereim bursem entto protecttherightsof

      residentsatsuch facilitiesand ensure thatthey receive appropriate care. See Pub.L.N o.100-

      203,j4201,101Stat.1330,1330-160to 1330-174,codifiedasamendedat42U.S.C.j13951-3.
             89.    Am ong otherthings,OBRA requires SN FSregularly to collectand subm itto

      CM S certain inform ation on each resident,which isused to assess theresident'sm edical

      conditionandthetreatmentprovidedtotheresident.See42U.S.C.j1395i-3(b)(3).This

                                                     32
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 35 of 97




       infonnationisreportedinaform jointlyestablishcdbyCMSandeachState,whichisreferredto
       asaM inimum DataSet(çKM DS'')Assessment.
                90.   OBR A requires SN FSto com plete and subm itto CM S and to the appropriate State

       agency a comprehensive M D S Assessm entforeach residentw ithin 14 days oftheresident's

       adm ission to the SN F,prom ptly aftera significantchange in the resident'sphysicalorm ental

       condition,andatleastonceevery12months.See42U.S.C.j1395i-3(b)(3)(C).M ore
       abbreviated assessm entsm ustbe com pleted quarterly and upon the resident'sentry into,and

       dischargefrom,theSNF.Seel'
                                d.;42C.F.R.j483.20(($,(J).
                91.   Each M D S Assessm entprovidesavariety ofinform ation abouttheresident's

      physicaland m entalcondition and the resident'sability to perform certain activitiesofdaily

       living(tWDLs'')suchaswalkingandeating.SeeM DSResidentAssessmentandCareScreening
       at6-26,attachedheretoasExhibit2(%$Ex.2'').TheMDSAssessmentalsoreportsthe
      m edications,therapy,and/orotherskilled nursing servicesprovided to the resident.See id.at

       27-29.

                      A registerednurse(161+ 95)mustcoordinatethecompletionoftheMDS
      Assessm ent,and m ustsign the M D S Assessm entto certify thatithasbeen properly com pleted.

      See42U.S.C.j1395i-3(b)(3)(B)(i);42C.F.R.j483.20419,(i)(1);Ex.2,jZ,at38.Each
      individualw ho com pletesa portion ofan M DS A ssessm entmustsign to certify the accuracy of

      thatportionoftheassessment.See42U.S.C.j1395i-3(b)(3)(B)(i);42C.F.R.j483.20(i)(2);
      Ex.2,jZ,at38.TheM DS Assessmentmustççaccurately reflecttheresident'sstatus,''42C.F.R.
      j483.20(g),andshouldbebasedondirectobservationoftheresident'sconditionordetailedand
      acclzratem edicalrecords. Theserequirem entsare designed to ensure the integrity and reliability

      ofM D S A ssessm ents.



                                                     33
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 36 of 97




             93.    CM S haspromulgated and regularly updatesaResidentAssessm ert Instrum ent

      M anualCQRAIM anual''),whichprovidesextensiveguidanceto SNFSonhow to collectand
      reportthe inform ation contained in theM DS Assessm ent. The RAlM anualis designed ttto

      facilitatethe accurate coding oftheM D S residentassessm entand to provide assessorsw ith the

      rationaleand resourcesto optim ize residentcare and outcom es.'' CM S,Long-Tenm Care Facility

      ResidentAssessmentlnstnzment3.0User'sM anualat3-1(Oct.2017),availablefdf
      hlpsr//dou loads.cm s.gov/flesN Ds-3o-M l-M anual-vl15-October-2017.pdf

                    Theprim ary purpose oftheM D S A ssessm entis to identify residentcareneeds

      thatareaddressed through a careplan dm/eloped foreach resident. See id.at 1-5. SN FSare

      required to use M D S Assessm ents,w hich are essentially prelim inary assessm ents,to conduct

      moreextensiveCareAreaAssessments(':CAAs'')foreachresidentthatarefocusedonthat
      resident'sspecific problem sand needs. Seeid. SNFSmustuse the CAA S and theM D S

      Assessm entto develop a com prehensive care plan foreach residentççthatincludesm easurable

      objectivesandtimetablestomeetaresident'smedical,nursing,andmental,andpsychosocial
      needsthatareidentitiedinthecomprehensiveassessment.''42C.F.R.j483.20(k)(1),
                                                                                'seealso
      id.j483.20(*,
                  .42U.S.C.j1395i-3(b)(4).A comprehensivecareplanmustbettdeveloped
      within(7)daysafterthecompletionof(aresident's)comprehensive(MDSAjssessment''and
      periodically review ed and revised aftereach subsequentM DS A ssessm ent. 42 C.F.R

      j483.20(k)(2)(i).M oreover,thecareplan mustbeprepared by an çtinterdisciplinary team that
      includestheattendingphysician,aregisterednlzrsewithresponsibilityfortheresident,and other

      appropriatestaffindisciplinesasdeterminedbytheresident'sneeds.''1d.j483.20(k)(2)(ii).
      SNFSarerequiredçstomaintaina1l(MDSAqssessmentscompletedwithintheprevious15
      monthsingeach)resident'sactiverecordandusetheresultsofthegAlssessmentstodevelop,



                                                     34
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 37 of 97




      review,andrevisetheresident'scomprehensiveplan ofcare.''42C.F.R.j483.20(d).
             95.    The CA A processrequiresSN FSto identify ttcare areas''thatare çûtl
                                                                                      riggered''by

      the com prehensive assessm entofaresident'sm edicalcondition and needs;evaluate each
      triggered care area by ççdoing an in-depth.
                                                ,resident-specific assessm entofthe triggered condition

      in term softhe potentialneed forcare plan interventions'';decidcwhatcourse ofcareto provide;

      and docum enta11ofthese stepsin theCAA process. RA1M anualat4-12 to -15. CM S has

      prescribed 20 care areasthatrequire a SN F to conductfurtherevaluation and care-planning,

      including CW DL Fx ctionalc ehabilitatiol
                                              l
                                              ay''w hich addresses aresident'sççpotentialforim proved

      functioninf';pain;dentalcare;theneed1brphysicalrestraints'
                                                               ,pressureulcers;dehydration;
      nutritionalstatus;and otherconditions,symptom s,and areasofconcern thatarecom m on in

      nursing hom eresidentsand arecom m onlq
                                            y identified orsuggested by M D S A ssessm entfindings.

      Seeid.at4-16 to -41. A sum m ary ofthe resident'scare needs and the creation ofa careplan is

      reportedin comprehensiveM DS Assesslnents.SeeEx.2,jV,at31-32.SNFSarcrequiredto
      docum entCA ASand care plansforeach resident;these m aterialsm ustbem aintained in the

      resident'sm edicalrecordsbutarenotsubm itted to CM S.

             2.     The Prospective Paym entSystem
             96.    In the Balu ced BudgetActof1997,Congress established a PPS forSNFS,

      pursuantto w hich CM S provides advancepaym entsto SNFS forskilled nursing servicesto

      eligibleresidents.SeePub L.No.105-33 j4432,111Stat.251,414,codifiedasamendedat42
      U.S.C.j 1395> ;seealso 42 C.F.R.jj413.330,etseq.
             97.    ln establishing the PPS fol'SN FS,Congress aligned reim bursem entratesunderthe

      PPSwithresidentclassificationandassessment.See42U.S.C.j1395yy(e)(4)(G).SNFS
      receive apredeterm ined perdiem rateforeach residentthatis calculated based on the m edical

      and physicalcondition ofthe residentand the resident'santicipated need fortherapeutic and

                                                     35
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 38 of 97




      otherskilled nursing services asreported in theresident's M DS Assessm ents. See 42 C.F.R.

      j9413.335-37,.343.Specifically,each residentisassignedtooneofover50mumally exclusive
      groups,referred to asResourceUtilizatiollGroupsCtRUGs''),basedon hisorherdinical,
      functional,andresource-basedcriteria.Seef#.j413.333.PaymentsunderPPS depend on the
      RUG levelassignedtoeachresident.Seeid.jj413.335-37.Toreceivercimbursementunder
      M edicare PartA forpost-hospitalSNF careprovided to a resident,a SN F m ustcertify thatthe

      residentSKhasbeen correctly assigned to one ofthe Resolzrce Utilization Groupsdesignated as

      representingtherequiredlevelofcare.''1d.j424.20(a)(ii).ThoseRUG levelsfol'eachresident
      arerecalculated on a regularbasis.

             98.    To receive paym enttm derPPS,SNFSmustcom pleteM D S Assessm entsm ore

      frequently than required by OBRA :M D S A ssessm entsm ustbe completed on apploxim ately the

      5th,14th,30th,60th,and90thdaysofaresident'sstayataSNF.See42C.F.R.j413.3434b);
      seealsogenerall
                    y42U.S.C.j1395/(e).lnsubmittinganMDSAssessment,aSNFmustselect
      anAssessmentReferenceDate(tûAllD'')asofwhichinformationintheMDSAssessmentis
      reported. The inform ation reported in each field ofthe M D S A ssessm entisbased on a 7-or 14-

      day Stlook-back''period preceding the ARD. See ltAIM anualat2-15.H ow ever,a SN F is

      allowed som e flexibility in setting A RD S. There isa window offourto nine daysbefore each

      required M D S Assessm ent,and a SNF m ay also use certain specified ''grace days'''before or

      afterthe prescribed A lkD w indow .Id.at2-43. Thus,forexam ple,the ARD fora 14-day M D S

      A ssessm entcan be setas early as theresident's 1lth day atthe SN F or,through the addition of

      grace days,aslate asthe 19th day.f#. G race daysm ay be added to address ç'situationswhen an

      assessmentmightbedelayed(e.g.,illnessofRN assessor,ahighvolumeofassessmentsdueat




                                                     36
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 39 of 97




     approximatelythesametime)oradditiona'
                                         ldaysareneededtomorefullycapturetherapyor
     othertreaM cnts.'' See id.at2-41.
            99.    A properly com pleted M D S A ssessm entmustbesubm itted w ithin 14 daysofthe

     M DS A ssessm ent'sARD in orderfora SNF to receive ftz11reim bursem ent.See 42 C.F.R.

      jj413.3374c)'
                  ,413.343,483.20,
                                 .lkAIManualat2-45,A SNFreceivesalow,default
     reim bursem entrate fordayscovered by any M DS Assessm entthatisnottim ely received by

      CM S. TheseM D S A ssessm entsm ustcontain aRUG level,w hich isreported in Section Z ofthe

      M DSAssessment.SeeEx.2,jZ,at38.TheRUG levelisdeterminedbased on theinfonnation
      concerning AD LS and therapy orotherrehabilitative servicesreported in the resident'sM DS

      Assessment.SeeRAlM anualat6-3to-5.Forexample,theRUG levelRUX (Rehabilitation
      Ultra-lligh,ExtensiveServices)isappropliateonly foraresidentwho hasanADL scoreof1lto
      16,receives 720 m inutes oftherapy orm oreperw eek acrossm ultiple therapy disciplines,and

      requirescertain otherform sofspecialized care.See id.at6-24.
             100. The signam re pagefor each M D S A ssessm entm akesclearthatthe M DS

      Assessm entservesas a basisforpaym entby M edicare:

                    1certify thatthe accom panying information accurately reflectsresident
                    assessm entinform ation forthisresidentand that1collected orcoordinated
                    collection ofthisinfonuation on the dates specitied. To the bestofmy
                    know ledge,this inform ation w ascollected in accordance w ith applicable
                    M edicare and M edicaid requirem ents. Iunderstand thatthisinform ation
                    isused asa basisforensuring thatresidentsreceive appropriate and
                    quality care,and asa basis forpaym entfrom federalfunds. lfurther
                    tm derstand thatpaym entofsuch federalfundsand continued participation
                    in thegovem m ent-funded Nealth careprogram sisconditioned on the
                    accuracy and truthfulnessofthisinform ation,and that1m ay bepersonally
                    subjecttoormaysubjectmlyorganizationtosubstantialcriminal,civil,
                    and/oradm inistrativepenaltiesforsubm itting false inform ation. 1also
                    certify thatIam authorized to subm itthisinfonmation by this facility on
                    itsbehalf




                                                    37
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 40 of 97




      Ex.2,jZ,at38.TheRN AssessmentCoordinatormustalsoprovidethe datethattheM DS
      Assessm entis com pleted. See id.
             101. Forexample,in 2016,theperdiem paymentsfornzralSNFSvariedfrom $822.89

      perdayforRUG levelRUX (RehabilitationUltra,ExtensiveServices)toas1ow as$200.11for
      levelPA1(ReducedPhysicalFunction).Seehttps://w w.gpo.gov/fdsys/pkgTR-zol6-o8-
      05/pdfT R-2016-08-05.pdf. M anipulating theRUG levelassigned to a residentcould thusm ore

      than quadruple the perdiem paym entforthatresident.
             102. In addition to being accurately reported on a resident'sM D S Assessm ent,skilled

      nursing servicesforw hich a SNF seeksreim bursem entm ustbe reasonable,m edically necessary,

      and consistentwith professionally recognized standards ofcare. See 42 U .S.C.

      jj1395y(a)(1)(A);1320c-5(a).lnthecontextofskilledrehabilitationtherapy,thismeansthat
      tht services funzished m ustbe ordered by a physician;consistentwith the natureand severity of

      theresident'sindividualillness,injury,orparticularmedicalneeds;consistentwithaccepted
      standardsofm edicalpractice'
                                 ,and reasonable in term s ofduration and quantity. See M edicarc

      BenefitPolicyM anual,Ch.8,j30,availableathttp://-          .cms.gov/Re> lations..and-
      Guidance/GuidanceN anualsr ou loads+ plozco8.pdf.

                 103. SNFSbillM edicare-coveredservicesonaUniform Bill04(t
                                                                         tUB-04'')form,orthe
       electronicequivalent.SeeM edicareClaimsProcessingManualCh.6,j30,availableat
      http://m      .cm s.gov/Regulations-and-Guidance/GuidanceN anuals/D ou loads/clm lo4co6.pdf.

                 104. The contentsofaForm UB-04 foraresidentconvey inform ation from the M DS

       Assessm entsubm itted forthatresident.Each claim forreimbursem entin a Fonn UB-04 can

       readily be traced to theRU G levelasserted in thatM D S A ssessm ent.




                                                     38
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 41 of 97




            105. Forper-diem billing,a SN F entersin field 44 - EGHCPCS /Rate /HIPPS Code''-

     theRUG levelassigncdtotheHealthInsuranceProspectivePaymentSystem (tçH1PPS'')code
     tield in Section Z ofthe resident'sM D S Assessm ent,follow ed by atwo-digitcodereflecting the

     type ofA ssessm ent- i.e.,a 5-day M D S A ssessm cnt,14-day M D S Assessm ent,c/c.- in which

     theRUG levelwasreported.SeeM edicareClaimsProcessingM anual,Ch.25 at16,availableat
     hûpr//-     .cm s.gov/Rcgulations-r d-Guidance/GuidanceN r ualsD ownloads/clatlo4czs.pdf.

     Based on the SN F'S location,the RU G level,and the M D S A ssessm enttype,CM S autom atically

     determinesthe num berofdaysforwhich reimbursem entshould be provided and the appropriate

     perdiem rate.Seeid.,Ch.6,j30.4.2-.3.Forexample,theRUG levelreported inthes-day
     M D S A ssessm entdeterm inesthereim bursem entratefora resident's first14 daysata facility,

      the 14-day M D S A ssessm entdeterm inesthe rate fordays 15 to 30,and so on. See RA lM anual

      at2-46.
               106. To receive reim bursem ent,aSNF mustsubm itForm UB-04s on a regularbasis,

      and upon a M edicare-covcred resident's discharge,exhaustion ofbenetits,ordecrease in levelof

      careto lessthan skilled care.SeeM edicareClaimsProcessingM anual,Ch.6,j40.Billsmust
      besubmitted,andareprocessed in sequence.Seeid.j40-1. Thus,abillcorresponding toa 14-
      day M D S Assessm entmustbe subm itted before abillcan be subm itted fora 30-day M D S

      Assessm ent,and so on.
               107. The reverse side ofeach Form UB-04 containsthefollowing certifications,am ong

      others:
                     U B-04 N OTICE: THE SU BM ITTER OF TH IS FORM U NDERSTAND S
                     THAT M ISREPRESEN TA TION OR FALSIFICA TION OF ESSENTIAL
                     INFORMATION ASREQUESTED BY THISFORM ,MAY SERVEAS
                     THE BA SIS FOR CIVIL IWON ETARY PEN ALTIES AN D
                     A SSESSM ENTS A ND M AY UPON CONV ICTION W CLUD E F I
                                                                         N ES
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 42 of 97




                     AN D/OR IM PRISON M ENT UNDER FEDERAL AND /OR STATE
                     LAW IS).
                     Subm ission ofthisclaim constim tescertiication thatthebilling
                     inform ation asshow n on the face hereofistrue,accurate and complete.
                     Thatthe subm itlerdid notknow ingly orrecklessly disregard or
                     m isrepresentorconcealm aterialfacts.

              3.     M edicare A dvantage Plans
              108. In addition to dircctreim btlrsem entofSN FSfornursing care,M edicarealso

       perm itseligible individualsto coverthe costofskilled nursing care by em-olling in

       Medicare+choicePlansorM edicareAdvantagePlans(4tMA Plans'')establishedunderMedicare
       PartC. M edicarePartC enablesprivate insurersto contractw ith CM S to establish an M A Plan,

       w hich offersindividualseligible forM edicarethe sam e benefitsthey w ould receiveunder

       M edicare,and m ay also offer additionalbenefitsnotcovered by M edicare. See 42 U .S.C.

       jj 1395w-21,-22.
              109. In exchange forcovering the costsofprescription drugsand m edicalorskilled

       nursing servicescovered by M edicare,M A Plansreceive from CM S a m onthly capitation rate

       foreach eligibleparticipant.See42 U.S.C.j 1395w-23.
                                                         ,42C.F.R.jj422.304-.308.The
      capitationrateisrisk-adjustedforeachparticipantbasedonriskdiagnosisdataprovidedbyMA
      PlanstoCMS.See42U.S.C.jl395w-23(a)(1)(C),
                                              '42C.F.R.j422.308/).Additionally,MA
      Plansarepermitted,butnotrequired,to charge aprem ium to Plan participants, which coversthe

      costofany additionalservicesoffered by theM A Plan in excessofthosecovered by M edicare.

      See42U.S.C.j1395w-24(b).ThemajorityofparticipantsinMA Planspaynopremium.ln
      practice,thebulk ofM A Plans'revenuecom esfrom the CM S monthly capitation paym ents

      ratherthan prem ium s.

                    ln2016,M A Plansreceivedover$202billion from CM S.SeelssueBlief:Thc
      FadsonM edicareSpendingandFinancing(July2017),availableat

                                                    40
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 43 of 97




       hhps'
           .//-      .kff.org/medicare/issue-bhelE
                                                 ,/
                                                 'the-facts-on-medicare-spending-and-lnancinF.ln
       2017,M A Planscovered over 19 m illion peoplc nationw ide and over33% ofthose receiving

       M edicarebenefitsin the United States and over42% ofthosereceiving M edicare benefits in the

       State ofFlorida did so through an M A Plan. Paying forcarethrough M A Planscosts CM S about

       10% m ore on average than directreim bursem entthrough thePPS. See FactSheet:M edicare

       Advantage(Oct.2017),availableathttps://www.kfforg/medicare/fact-sheevmedicare-
       advantage/.

              111. Because M A Plansreceivefederalfundsto coverthe costofproviding m edical

       andskillednursingcaretoinsureds,theyaresubjecttosubstantialregulationandoversightby
       CM S - including oversightdesigned to preventfederalfundsfrom being lostto fraud,w aste,and

       abuse.An M A Plan contracting w ith CM S mustagree to establish an effective compliance

      program topreventfraud,waste,andabuse.See42C.F.R.j422.503(b)(4)(vi).Additionally,
      HH S isrequired to provide forthe annualauditing ofM A Plans,including theirlevelof

      Medicareutilizationandcosts.See42U.S.C.jl395w-27(d)(1).Theserequirementshelp
      ensurethatCM S'Srisk-adjustedcapitationpaymentstoMA PlansaccuratelyreflectMA Plan
      participants'm edicalcondition and needs.

              112. M A Planscontractwith SN FSto provide skilled nursing servicesforM A Plan

      participants. Underthese contracts,reim bursem entistypically based on inform ation reported in

      the M D S A ssessm entforeach resident,and SNFSmustcom pletean M D S Assesslnentaccurately

      reflecting the resident's condition to receivepaym ent. A resident'sM D S Assessrnentisused by

      an M A Plan fortheM A Plan'sinternalreim bursem entpurposes,and m ay be used to provide risk

      diagnosisdatatoCM SsothatCM Scandetenninetheappropriateriskadjustmenttothe




                                                    41
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 44 of 97




       capitation rate forthatresident. The M D S Assessm entthusaffectsboth a SN F'sl'
                                                                                      eim bursem ent

       from an M A Plan and theM A Plan'scapitation paym ents from CM S.

              113. A m ong others,one im portantdifference between M A Plansand directPPS

       reim bursem enttm derM edicare isthatbenefitsunderM A Plansm ay notrequire an acute stay.

      M edicarepaysforup to 100 continuous daysin a SN F forpost-acute care afterdischarge from a

      hospitalstay ofatleastthree days. In gelleralterm s,a M edicare residentw ho isdischarged from

       a SN F m ay return forfurtherSNF care ollly afteranotherthree-day hospitalstay,and even then

       only forthe balance ofthe resident's 100.day coveragebenefit.The loo-day benefitdoesnot

      resetuntilthe residentspendsatleast60 daysw ithoutreceiving any inpatientservices. M any

      M A Plansw aivetherequirem entfora three-day hospitalstay priorto providing SNF coverage.

      Forexam ple,thiscould m ean thataM edicare residentwho is discharged from a SNF aftera 30-

      day stay,due to a non-acute decline in fttnction,could benefitfrom furtherSN F services45 days

      laterbutwould notbe able to return to the SNF,w hereas an identicalM A Plan residentw ould be

      ableto return and receivem ore servicesf'
                                              i'
                                               om the SN F forup to therem aining 70 daysofthe

      SNF benefitcoverage.

          B. TRICARE

                    TRICARE (formerlyCHAMPUS)isafederallyfundedmedicalbenefitpropam
      establishedbystatute.10U.S.C.jj1071.-1110.TRICARE provideshealthcarebenefitsto
      eligiblebeneficiaries,which include,am ong others,active duty m ilitary servicem em bers,retired

      military servicem embers,andtheirdepmldents.Seeid.j 1072.
                    TRICARE coversthe sam e skilled nursing services asM edicare. See 32 C.F.R.

      j 199.4(b)(1)(vi).TheregulatoryauthorityimplcmentingtheTRICARE program provides
      reim bursem entto health careprovidersapplying the sam e reim bursem entschem e and coding

      parametersthattheM edicareprogram applies.See10U.S.C.j1079()42),(4).

                                                    42
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 45 of 97




              116. TRICARE,like M edicare,paysotzly forttm edically necessary servicesand

      suppliesrequiredinthediagnosisandtreatmentofillnessorinjury.''32C.F.R.j199.4(a)(1)(i).
      TRICARE follow sM edicare'sPPS and Ik
                                          t.
                                           U G levelm ethodology and assessm entschedule,and

      benetk iaries are assessed using the sam e M D S A ssessm entform used by M edicare. See

      TRICARE ReimbursementManual6010.58-M ,Ch.8,j2(Nov.2017),availableat
      hûp://manuals.tdcre.osd.mil/pagesr isplayM anual.aspx?sedesld=u lM BRsM R'(furtherlink
      toTableofContentsatChange152).Sirnilarly,servicesprovidedtoaresidentcoveredby
       TRICARE are billed on the sam e Form trB-04 and depend on the RU G levelsreported in the

      M DS Assessm ent. See id.

          C . H ealth lnsurance Through M eilicaid
              117. TitleXIX oftheSocialSecurity Act,42U.S.C.j 1396,etseq.,providesfor
      federalgrantsto supportState PlansforM edicalAssistance,and iscom m only known asthe

      M edicaid program . Each State hascstablished and adm inistersa M edicaid program to pay for

       m edicaland skilled nlzrsing services,durable m edicalequipm ent,and prescription drtzgsfor

       disabled orfinancially needy individuals,which m ustconform to certain requirem entsto receive

       federalfinancialsupport.See42 U.S.C.j 1396a.
                     The States directly pay providers forservicescovered by M edicaid,w ith the

       States obtaining the federalshar: ofthepaym entfrom accountsw hich draw on theU nited States

      Treasury.See42 U.S.C.j 1396b;42 C.F.R.jj430.0-430.30.
              1.     FederalM edieaid Requirem entsfor SN FS
              119. Federallaw imposesa nulnberofrequirem entson SN FSthatparticipatein a

      M edicaidprogram. Specifically,SNFSnlustprovideservicespursuantto awrittenplan ofcare

       thatisdesigned to attain orm aintain thehighestpracticablephysical,m ental,and psychosocial

      well-beingofeachresident.See42U.S.I-
                                         '.j1396r(b)(2).lfaresident'splanofcarecallsfor

                                                     43
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 46 of 97




      rehabilitativetherapy,the SNF isrequired.by law to provide the therapy orcontractw ith an

      outsideprovidertoensurenecessarytherapyisprovided.See42C.F.R.j483.45(4.
             120. ln orderto develop,review ,and revise each resident'splan ofcare,a SNF is

      required regularly to com pleteM D S A ssessm entsforeach resident.See 42 U .S.C ,

      j1396r(b)(3)(A),(D).AnRN isrequiredby1aw toconductorcoordinatetheMDSAssessment,
      and m ustsign the M D S Assessm entto cedify thatithasbeen properly completed. See42 U.S.C.

      j1396r(b)(3)(B)(i);42C.F.R.j483.20419,(i)(1).Eachindividualwhocompletesaportionof
      theM D S A ssessm entm ustsign to certify the accuracy ofthatportion ofthe M D S Assessm ent.

      See42C.F.R.j483.20(i)(2).
             121. LikeO BR A,M edicaid law requircsthatM DS A ssessm entsbe com pleted foreach

      residentwithin 14 daysofadm ission,prom ptly aftera significantchange in the resident's

      physicalormentalcondition,andatleastevcry12months.See42U.S.C.j1396r(b)(3)(C)(i).
      Each residentmustbe exam ined atleastevery three m onthsto determ ine whether iisorher

      Assessmentneedstobeupdated.Seeid.j1396r(3)(C)(ii).
             2.      Florida M edicaid Requirem entsfor SN FS
             122. The State ofFlorida hasestablished a M edicaid program adm inistered by the

      FloridaAgencyforHca1thCareAdministration(tWHCA'').SeeFla.Stat.j409.902.Florida's
      M edicaid pror am coversnursing and rehabilitative servicesprovided atSNFS. See id.

      j409.905(8).
             123. AH CA regulatestheprovision ofcareby SN FSthatparticipate in Florida's

      Medicaidprogram tocnsurethatresidentsreceiveappropriatecare.SeeFla.Stat.j409.919,
                                                                                      'Fla.
      Admin.CodeR.59G-4.200. Theseregulationsaresetoutin AHCA'SStatewideM edicaid

      ManagedCareLong-term CareProgram CoveragePolicy(Mar.2017)(662016Medicaid
      CoveragePolicy'),availableathdp://w w.ahca.myiorida.com/medicaid/review/specifc/sgG-

                                                    44
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 47 of 97




       4.192 LTC Program Policy.pdf,AHC>k'SNursingFacilityCoveragePolicy(May2016)(112016
       Ntlrsing FacilityCoveragePolicy''),availableat
       https://-       .Gmles.orFgateway/readRef'
                                                File.asp?refd=6634&Glename=Nmsing Facility sew i
                                                                                      --         -



       ces-   coverage policy proposed.pdf,and AHCA 'SFloridaM edicaid N ursing Facility Services
                        -     -




       CoverageandLimitationsHandbook(Oct.2003& rev.2004)(112004NursingFacility
       Handbook'),attachedheretoasExhibit3.AHCA hasincomoratedintotheMedicaidCoveragc
       Policy allfederaland Florida staterequirem ents, including those regulationsconcerning M D S

       assessmentsandcareplans.SeeAHCA CoveragePolicyReview Presentation(June16,2017),
      available at

      hdp://O ca.mr odda.coA         edicaiirecentpresentations/sM M c w ebinars/Fm A tv SM M C LT
                                                 -



      C Prop am coverage policy presentation o6l6l7.
                   -          -      -             pdf(çtW ewillnotrecite(intheM edicaid
                                                     -




      CoveragePolicyjtheexactsamerequirementsthatarespecifiedinstatestatuteorinfederal
      regulationsunlessaninteprdationisrequiredtoimplementg.l'')(emphasisinoriginal).
                        Consistentw ith federallaw ,AH CA requiresSN FSto develop a comprehensive

      planofcareforeachresident,whichmustincludemeasurableobjectivesandtimetablestomeet
      aresident'sm edical,nursing,m entaland psychologicalneeds. See2004 Nursing l7acility

      Handbook at2-27;2016 M edicaid CoveragePolicy at6.2,1.3.18 (AHCA requiresSNFSto

      develop ççan individualized plan ofcarebased upon a com prehensive needsassessm cnt. . .

      (whichmustincludea)descriptionoftheenrollee'sgoalsforlong-term care,theservicesand
      supportsneeded to m eetthose goals,and the specific serviceneeds ofeach enrollee, showing the

      projectedduration,desiredfrequency,andtypeofproviderfurnishingeachservice,andthe
      scopeoftheservicestobeprovided.').Theplanofcaremustbebasedontheresident'sM DS
      A ssessm entand mustbe com pleted w ithin seven days aftercompletion ofthe M D S A ssessm ent.




                                                         45
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 48 of 97




       2004 Nursing Facility Handbook at2-27. The M DS Assessm entm ustbe com pleted within 14

       daysoftheresident'sadm ission to thentlrsing facility and subm itted to CM S.1d. Theplan of

       care mustbe reviewed atleastevery 90 daysby theresident'sphysician and otherpersonnel

       involved in the resident'scare. 1d.at2-28.
                                                ,see 2016 M edicaid Coverage Policy at6.2.2.

              125. TheM DSAssessmentmustbekeptintheresidcnt'smedicalfileandissubjectto
       inspection and auditby A HCA .Additiollally,the inform ation reported in a facility'sM D S

       Assessments(includingthesummaryofcareplanninginSectionV oftheMDSAssessment)is
       maintainedintheQualitylmprovementandEvaluationSystem CtQIES''),whichisjointly
       established by CM S and each state,including Florida.Florida hasaccessto M D S Assessm ent

       datathroughQIESandusesthesedatatoassessthequalityofservicesprovidedbySNFS.
              126. The plan ofcare iscentralto thenursing services covered by Florida'sM edicaid

      program . Indeed,an A l-lcA -com m issioned independentstudy ofthe Florida M edicaid program

       foundthatEçthelackofanappropriategplanofcarelindicatesunmetneed(i.e.,poorqualityl.''
       lndependentAssessm entoftheFlorida Statew ide M edicaid M anaged Long-term CareProgrnm

      FinalInterim Report(FY2014-15)(June30,2017)at71,availableat
      hûp://ahca.m/ oHda.coe medicaiipolicy-and-ouality/ouality/perfo= ance-evllluatioA EW
      contracts/m edl86/M Er l86 Final Interim Report.
                                                     pdf. Am ong thebasic rights ofa resident

      covered by M edicaid istheççrightto receiveadequate and appropriate health care and protective

      and supportservices,including socialservices;m entalhealth services,ifavailable;planned

      recreationalactivities;and therapeutic and rehabilitative servicesconsistentwith the resident

      careplan.''Fla.Stat.j400.022*
                                  ,see200dI
                                          .NursingFacilityHandbookat2-17'
                                                                        ,seealso2016
      Nursing Facility CoveragePolicy at1.3.10. In particular,rehabilitativetherapy çtmustbe

      provided by licensed personnelunderaphysician'swritten orderand includcd in the plan of



                                                     46
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 49 of 97




      care.'' 2004 Nursing Facility H andbook at1-6. Accordingly,nursing facilities arc required to

      m aintain sufficientltstaffto provide24-hourntlrsing and related servicesto residents ...as

      determ ined by residentM D S A ssessm ents and docum ented in individualplansofcare.''1d. The

      perdiem ratethatAHCA paystonursingfacilitiesisdesignedtoççcoverg)rehabilitativeand
      restorative care including physical,speech,occupational,and respiratory therapy ordered by a

      resident'sphysician and included in the plan ofcare.''1d.at2-10.

              127. Florida's M edicaid program also requires thatM edicaid servicesbe provided in

       accord with applicable provisionsofal1M edicaid rules,regulations,handbooks,and policiesand

       in accordancew ith federal,state,and locallaw .

              3.      R elm bursem entby M edicaid
              128. A HCA is responsible forreim bursing nursing facilitiesforservices covered by

      M edicaid. A HCA isem powered to determ ine appropriate reimbursem entrates fornursing

      facilities,basedprimarilyonthecostsreportcdbyeachfacility.SeeFla.Stat.j409.90842).
       AHCA analyzeseach nursing facility's costreportsand establishes aspecific perdiem rate for
       each facility annually,w hich AH CA callsa Gçsem ester.'ls See, e.g.,AH CA ,Computation of

       NursingHomeMedicaidReimbursementRate,2017Semester,(Sept.1,2017)at521-22,
       available at

       http://ahca.m ypoHda.com /m edicaii cost reim /pdfm H Rate calculations and FRvs providers
                                              -                  -             -    -      -




        122346-228001 2017-09-01.pdf.

              129. Bills are subm itted to the Florida M edicaid program 'sFiscalA gent,HP

       Enterprise Services,w hich acts on behalfofA HCA in reviewing and paying claim s.



               5Priorto September1,2016,AH CA established theperdiem rate foreach facility every
       six m onths. See http://A ca.m yioùda.coE
                                               e m edicaif cost reim /nh rates.shtm l.


                                                     47
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 50 of 97




      Reimbursem entby HP Enterprise Servicesis funded with federaland Florida funds. SeeAH CA,

      M edicaid M anagem entInform ation System r ecision SupportSystem /FiscalAgentServices

      Procurement:RequestforProposalj30.12(Mar.3,2005),availableat
      htT ://ahca.myiorida.com/medicaiioperi
                                           ationsT iscal/docs/o8o7z4 M M IS RFP 2008-

      2013.pdf.
                     To receive reim blzrsem entforM edicaid-covered services,anursing facility must

      subm ita version ofthe Form UB-04 developed by AH CA . See Fla.Adm in.Code R.59G-

      4.003;AHCA MedicaidProviderReimbtlrsementHandbook,UB-04at1-2(Ju1y:L008),
      availableathe ://ahca.m/ oHda.coe medicaiireviewc eimbursement/RH 08 080701 UB-
      04 vcrl 3.pdf.

              131. ThereversesideofaForm UB-04alsocontainsthefollowingstatements(or

      substantiallysimilarstatements):
                   The follow ing certificationsorverificationsapply wherepertinentto thisBi11:
                                                        +* #


                     ForM edicaid purposes:The subm itterunderstands thatbecausepalym ent
                     and satisfaction ofthis claim willbe from Federaland State ftm ds,any
                     falsestatements,documents,orconcealmentofamaterialfactaresubject
                     toprosecutiontmderapplicableFederal(orlState(Lqaws
                     A HCA 'SM edicaid ProviderR eim bursem entH andbook explainsthata SNT'

      certifies com pliance w ith applicable federaland Florida lawseven when aFonn UB-04 is

       subm itted electronically ratherthan on a signed paperform :

                     Because the UB-04 claim form doesnothave the provider'ssir ature,the
                     provider'sendorsed signattlre on the back ofthe rem ittance check issued
                     bytheMedicaidfiscalagenttakestheglaceofasignatureonapaper
                     claim form.ltacknowledgesthesubmlssion oftheclaim andthereceipt
                     ofthe paym entforthe claim . ltcertifiesthattheclaim is in compliance
                     w ith the conditionsstated on theback ofthe paperclaim fonn and w ith al1
                     federaland state law s.



                                                     48
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 51 of 97




                    Any providerwho utilizesthe electronic fundstransfersystem is certifying
                    with each useofthesystem thattheclaimts)forwhich theprovideris
                    being paid is in com pliance with theprovisionsfound on theback ofthe
                    paperclaim form and w ith al1federaland state law s.
      AH CA M edicaid ProviderReim bursem entHandbook,UB-04 at1-48.

             133. Florida 1aw expressly conditionspaym entundertheM edicaid program on

      compliance with federaland state regulations,including the regulations concem ing care plans

      and M D S A ssessm entsdescribed above. Specifically:

                    W hen presenting a claim forpaym entundertheM edicaid program ,a
                    providerhasan affirm ative duty to supervisethe provision of,and be
                    responsible for,goodsand servicesclaim ed to have been provided,to
                    supervise and be responsible forpreparation and subm ission ofthe claim ,
                    and to presenta claim thatistnzeand accurate and thatisforgoods and
                    services that:



                           (b)AreMedicaid-coveredgoodsorservicesthataremedically
                    nCCCSSaCY.



                           (e)Areprovidedinaccordwithapplicableprovisionsofa1l
                    M edicaid rules,regulations,handbooks,and policiesand in accordance
                    w ith federal,state,and locallaw .

                           (9 Aredocumentedbyrecordsmadeatthetimethegoodsor
                    servicesw ereprovided,dem onstrating the m edicalnecessity forthegoods
                    orservices rendered. M edicaid goodsorservicesare excessive ornot
                    m edically necessary unlessboth the m edicalbasis and the specific need
                    forthem are fully and properly documented in the recipient'sm edical
                    record.

                    The agency shalldeny paym entorrequire repaym entforgoodsorservices
                    thatare notpresented asrequired in this subsection.

      Fla.Stat.j409.913(7).
                           STA TE AN D FED EM L FALSE CLAIM S ACTS

             134. The federalFCA im posesliability on any person w ho ççknow ingly presents,or

      causesto bepresented,a false orfraudulentclaim forpaym entorapproval''orwho tçknowingly


                                                    49
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 52 of 97




      m akes,uses,orcausesto be m adeorused,afalserecord orstatem entm aterialto afalseor

      fraudulentclaim.''31U.S.C.j3729(a)(1)(A)-(B).ltsimilarlyimposesliabilityonanyperson
      who ttknowingly concealsorknow ingly and im properly avoidsordecreasesan obligation to pay

      ortransmitmoneyorpropertytotheGovernment.''1d.j3729(a)(1)(G).
             135. The FCA definesttknow ing''and ttknow ingly''with respectto information as

      meaningthattheperson<<(i)hasacttlalknowledgeoftheinformation;(ii)actsindeliberate
      ignoranceofthetruthorfalsityoftheinformation;or(iii)actsinrecklessdisregardofthetruth
      orfalsityoftheinformation.''1d.j3729(b)(1)(A).TheFCA definesitmaterial''asç6havinga
      namraltendency to influence,orbecapableofinfluencing,thepaymentorreceiptofmoney or

      propelly''f#.j37290944).
             136.     The FCA definesa ttclaim ''astGany requestordem and,whetherundera contract

      orotherwise,form oney orproperty and whetherornotthe United Stateshastitle to them oney

      orproperty,that-
                                   ispresented to an officer,em ployee,oragentofthe United States;
                                   or

                            (ii)   ismadetoacontractor,grantee,orotherrecipient,irthemoneyor
                                   property isto be spentorused on the G ovem m ent'sbehalforto
                                   advance a Govem m entprogram orinterest,and iftheU nited
                                   StatesGovernm ent-;
                                        (1) providesorhasprovidedanyportionofthelnoneyor
                                           property requested ordem anded;
                                        (11)gwillqreimblzrsesuchcontractor,grantee,orotherrecipient
                                           forany portion ofthe m oney orproperty which isrequested
                                           ordem anded.

       31U.S.C.j3729@)(2)(A).
              137. Accordingly,each M DS A ssessm entand each Form 118-04 subm il
                                                                                tted to CM S,

       M A CSacting on CM S'Sbehalf,orother governm enthealth program s constitutes a Stclaim ''



                                                     50
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 53 of 97




      within the m eaning oftheFCA,becausethese docum entsaredesigned to induce,and do

      ordinarily induce,thepaym entofm oney by CM S. Additionally,each M D S Assessm entisa

      record orstatem entthatism aterialto a Form UB-04.
             138. H ow ever,astheFCA m akes clear,requestsform oney subm itted to a federal

      grantee,contractor,orotherrecipientm ay also constitute a claim ,ifm oney requested is being

      spentto advance a Governm entpurpose and aportion ofthem oney is provided by the federal

      governm ent.Thus,each Form UB-04 and each M DS Assessm entsubm itted to AHCA orFiscal

      Interm ediaries acting on itsbehalf- and each requestforreim bursem entand each M DS

      Assessm entsubm itted to an M A Plan - constit
                                                   -utesa Gçclaim ''within the m eaning ofthe federal

      FCA . Further,each M D S A ssessm entconstim tesarecord orstatem entm aterialto aForm U B-

      04 orotherrequestforreim bursem ent.
              139. TheFloridaFalseClaimsAct,Fla.Stat.j 68.081,etseq.,issubstalltially similar
      totheFCA,andalsoimposescivilliabilityonanypersonwhotllklnowinglypresentsorcauses
      tobeprescntedafalscorâaudulentclaim forpaymentorapproval''orwhoçtlklnowinglymakcs,
      uses,orcausesto be m ade orused afalserecord orstatem entm aterialto afalse orfraudulent

      claim.''Fla.Stat.j68.082(2)(a)-(b).AsdoesthefederalFCA,theFloridaFalseClaimsAct
       imposesliabilityonanypersonwhottgklnowinglymakes,uses,orcausestobemadeoruseda
       false record orstatem entm aterialto an obligation to pay ortransm itm oney orproperty to the

       state,orlcnow ingly concealsorknow ingly im properly avoidsordecreased an obligation to pay

       ortransmitmoneyorpropertytothestate.''Id.j68.082(2)(g).
              140. Each Fonn UB-04 subm itted to AHCA isa Gtclaim ''w ithin them eaning ofthe

       FloridaFalseClaimsAct,and each M DSAssessmentsubm ittedto CM S orTRICARE and




                                                      51
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 54 of 97




      accessibleto AHCA isa record orstatem entthatism aterialto such claim s. See Fla.Stat.

      j68.082.
       DEFENDANTS'SCHEM E TO DEFPA UD M EDICARE.M EDICAID.AND TRICARE
                    D efendantsengaged in aschem e to defraud M edicare,M edicaid,and TRICARE

      by submitting and causing to bc subm itted num erousfalse orfraudulentstatem entsand false or

      fraudulentclaim sthatcontained fraudulently inflated RUG levelsand thatfalsely l'
                                                                                      epresented

      thatcare wasbeing provided in accordancewith contemporaneously established careplansand

      physician certifications. Each ofthe Defendantsknew,orw asdeliberately ignorantorreckless

      in notknowing,thatthe claim s and statem entsgenerated by these im properpracticcswere false

      orfraudulent.D efendants neverthelesspersisted in theirfraudulentschem ebecauseitgenerated

      millionsofdollars in reimbursem entsfrom fedcraland Florida funds.

          A . R elator'sK now ledge ofthe FraudulentSchem es
                     Relatorw as em ployed and supervised by Hillcrestand m anagem entpersonnelof

      DefendantsConsulateHea1thCareandConsulateManagement(together,ttconsulate'),andshe
      directly witnessed actionsthatw ould cause the creation and subm ission ofnum erousfalse

       statem entsand claim s forM edicare and M edicaid reim bursem ent. The description ofthe

       fraudulentactivity below isbased on herpersonalknowledge.
              1.     Provision ofUnnecessary M edicare Services to Increase M edicareBilling
              143. Relatorw aspresentforan ttM D S BootCamp''puton by Consulatc's regional

       m anagem enton oraround M arch 23,2017. AtthisttBootCam p''Relatorand al1em ployees

       presentwere instructed that,when evaluating SNF residents form ood and depression,they are to

       find thateach residenthasatleastfourindicators ofdepression forpurposesofM DS

       A ssessm ent,becauseiffour orm ore dcpression indicatorsare coded on a resident'sM DS

       Assessment,Defendants'facilitiesreceivean extra$80perday inM edicarereimbursem ent.As


                                                      52
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 55 of 97




     partofthe BootCamp,Relatorand a1lthosepresentw ere instructed on how to presentthe

      evaluation questionsto residentsin a m am lerthatw ould lead them to answerçûyes''to the

      questions,sothattherewouldbeatleastfburpositiveindicatorsformoodanddepression(and
      higherreimbursement).TheConsulatereljionalemployeesinchargeoftheMDSBootCamp
      wereM aria Seger-cram erand JaniceChesser.
             144. JaniceChesserisConsulatc'sregionalM DS director.In thatrole,sbe supervises

      the M DS nursesin each facility w ithin herregion. Chesserpressed em ployeesto code forhigh

      RU GS,in orderto inflate reim bursem ent.
                     MariaSeger-cramerisConsulate'sRcgionalVicePresident(çtRVP'').Like
      Chesser,shepressed em ployeesto code forhigherRU GSin orderto inflate reim bttrsem ent.
              146. A tthe M D S BootCamp,asw ellason varioustelephone conferenceswith

      Hillcreststaffand Consulatem anagem ent,Relatorreceived instm ctionson how to increase

      M edicare reim bursem entforboth nursing care and otherservicesprovided to residents. lfa

      residentisreported as show ing im paired cognition,theresidentw illreceivem orem edications

       and additionalcare,forwhich Defendants arepaid m ore.Em ployees,including Relator,were

       instructedtouseawordrecalltesttomeasurecognition in ordertodecidewhetheraresident

       should receive apsychologicalevaluation.In thisway,D efendantsw ork to tiltthe playing tield

       toshow impairedcognition.Forexnmple,ElsieJustilien,HillcrestExecutiveDirector(çEED'')
       untilD ecem ber2017,told Relatorthata residenthad aBrieflnterview forM entalStat'
                                                                                       us

       (t%IM S'')scoreof13outof15,where15isperfectscore.RelatorconfinnedthattheBIMS
       scorew ascorrectand thata psychologicalconsultation wastherefore notindicated,butJustilien

       neverthelessgave instm ctionsto the HillcrestU nitM anagerto callin apsychiatristto evaluate

       theresidentand the psychiatristputtheresidenton psychiatricm edications.Thisaction m eant




                                                      53
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 56 of 97




     thattheresidentcould rem ain on M edicare,despitethe factthattheresidentdid notrequire

     furthertherapy.
                   The im properbilling and m istreatm cntofresidentsisknown and encouraged by

     Consulatem anagem ent. AttheBootCam p,Relatorheard from employeesfrom various

      Consulate facilitiesthatM D S em ployees ata1lfacilitieshavebeen asked by Consulateto do

      illegalthings,and there ishigh ttzrnoveraspeople are leaving becausethey do notw antto go to

     jail.
             148. Relatorhasobserved thatthistype ofeffortto prom oteoverbilling ofM edicare

      hasrepeatedlyimpactedresidents.InUtilizationReview (EçUR'')meetingsheldevary
      W ednesday,Hillcrestrehab therapistsdiscusshow residentsare doing w ith A DLS,such as

      walking,transfers,and toileting,and the nursing staffdiscussresidents'nursing needs. W hen a
      residenthasrecovered to thepointofno longerrequiring therapy,m anagem entfocusesthe

      discussion on how to keep çtskilling''theresidentforadditionalservicesso thatthe residentcan
      beheld atHillcrestfor furthertreatm entand billing to M cdicare. Forexam ple,residentswithout

      strongappetitesaretargeted forspeechtherapy,psychiatricevaluation and ormedication.

              149. Thisfocuson com ingup withareasontobillmoretoM edicareextcndsto

      residentsw ho do notwish to participate furtherin thcrapy. Residentshave the rightto refuse

       therapyandwillnotqualifyforMedicare(orthehigherM edicarepayments)ifthcychoosenot
       to engage in therapy.W hen a residentisnotparticipating in therapy,thediscussion in the

       HillcrestU R m eetings includewhethera psychiatric evaluation isin ordertoprescribe

       medications(whichwouldsupportcontinuingMedicarepayments)orwhetherpainmedication
       should be prescribed to keep the residentinvolved in therapy.




                                                     54
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 57 of 97




             150. '
                  Fhepushtoforcetherapyol
                                        r
                                        lresidents(eveniftheyobjecttoitbecauseofpain)is
     so greatthataçûpain m anagem ent''doctor,Chane Price,participatestelephonically i.
                                                                                      n every UR

     m eeting and isasked to evaluate any residentwho hasdeclined therapy. Although beisnotthe

     medicaldoctorformanyresidents(norisheaffiliatedwithHillcrest),byparticipatingintheUR
      meetings,hehearscontidential(HlppA-protected)informationabouteveryresidentdiscussed
      during the m eeting,including details aboutthcirdiagnosesand m edicalhistory.

             151. Consulate m anagem ent,including RegionalDirectorofA dm issionsJoanne

      Alvarez and R egionalN ursing DirectorPeggy M oses,havebeen atUR m eetingsand have

      witnessedthesediscussions,withoutanyobjection.Accordingly,Consulateisawareofthese
      effortsto m ificially increaseM edicarebilling with disregard forresidentsatH illcrest,and on

      inform ation and belief,C onsulate employeesand officershave observed sim ilardiscussionsat

      otherConsulate facilities.
                     RelatorhasalsoobservedthatwhenM edicareresidentsareGrstadm itted,the

      facility and the rehab departm entwilltry to getthe residentinto the highestRUG levelpossible,

      regardlessofwhattheresidentm ightacm ally need.The facilityw illthen try to keep theresident

      in oneofthehighestbilling RU G levelsuntilthe expiration ofthe resident's 100 M edicare-

       covered days. A fterthe loo-day benefitcoverage expires,ifthe residentdoesnotdischarge,

      Relatorhasobserved thatthefacility and therehab departm entw illtypically ceasethetherapy

       and provideonly çtrestorative nursing.'' Restorative nursing isprovided by certified nursing

       assistants(ttCNAs''),notlicensedtherapists,andistypicallyusedtoavoiddeclineinskillsrather
       than to rehabilitate existing skillsthatm ay have deteriorated.
              153. Tw o M D S Coordinatorsworking atH illcrest,Verna Cham bersand Sophrine

       Brow n,have also stated thatConsulate corporate supervisors,including Janis Chesser,pressured




                                                       55
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 58 of 97




      them to coderesidentsinto higherRU G levelsthan supported by theirm edicalconditions.

                    The rehabilitation departm entalso pushesto getresidentsinto higherRUG levels

      by providing llnnecessary therapy.Forexample,a largeportion ofresidentsw ho arrive atthe

      facility are ordered physicaltherapy five tim esperw eek forsix w eeks,regardless ofthe reason

      why they havebeen adm itted. Forexam ple,Relatorrecallsone residentasking why shew as

      receiving physicaltherapy when she had I
                                             neen adm itted forIV care.

             2.     R etention ofR esidentsforA dditionalD aysto lncreaseM edicareBilling
                    The Consulate facilitiesalso retain residentsforlongerthan necessary in orderto

      receive m ore days ofcom pensation from M edicarc.Relatorhaspersonalknow ledge ofresidents

      who have m ettheirlevelofrehabilitation and areready fordischarge butthe facility haskept

      them longer,in orderto receive asm any ofthe 100 daysofM edicarepaym entaspossible. n e

      ED w illnotacceptthata residentshould be discharged atlessthan 100 daysand willstretch to

      find any reason to furtherççevaluate''theresidentin orderto m ake them stay longerand in the

      hopesofcom ing up with som eexcuse to retain theresidentforlonger.

             156. Forexam ple,the ED hastequired thatem ployeesevaluate residentswho were

      ready to go hom e forcognition issues. ln situationsw here a residentw asnoteating a11his

      m eals,the ED would dem and thatthe residentbecvaluated by a speech therapistforswallowing

      issues.
             157. Likew ise,any residentcapable ofwalking 500 feetshould generally be

       discharged. How ever,atD efendants'facilities,iftheresidenthasused lessthan l00 daysof

       Medicarereimbursement,theED wouldinterjectquestionsaboutpainmanagemcnt,orordcra
       painmanagementanalysis,inordertofindsomereasontoretain theresident.




                                                     56
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 59 of 97




             158. DirectorofRehabilitation(tçDOR'')Russell(ttRoss'')Tolliver,anemployeeof
      DefendantG enesis,has agreed with and cooperated with the ED 'sinstnlctionsto letain residents

      untiltheir 100 M edicare-paym entdayshaveexpired.
              159. These typesofevaluationsordered by the ED and D OR w ererusesin orderto

      increase M edicarc ftm dsreceived by D efendants,andw ere contrary to regularinstructions for

      residentdischarge. The overallgoalisto getevery residentto 100 days,regardlessofcare

      needed,in orderto m axim ize reim bursem ents. Relatorobserved repeated instancesofthis

      practice,which w assom etim es identified by the statem ent,Eçlet's ride itout,''m eaning to retain a

      residentwho should bedischarged. Consulate and Genesism anagem entalso occasionally

      referred to thispractice asçtshutting the back door''to m aintain a high census.

              160. Consulate cop orate supervisorsalso drove thepractice ofretaining residentsfor

      extra daysto obtain m ore revenue. JanisChesser,the Consulate regionalM DS supervisor,

      would cometo theindividualfacilities,includingHillcrest,to find waystoextendthestaysof

       M edicare residentsw ho w ere setto dischargebefore using their 100 days. W ithoutevaluating

       theresidentsthemselves,Chesserwould lookforreasonsintheresident'srecordstojustify
       keeping theresidentsin the facility longer,even though discharge was already scheduled.In

       Relator's experience,Chesseralw aysinvented a reason to keep residents longerin every case

       shelooked at.
              161. Sim ilarly,evcn afterdoctorshad m itten dischargc ordcrsforresidents,Jonnne

       Alvarez,anotherConsulateregionalsupervisor,alongwithM iriam Pastor(ConsulateRVP of
       Operations)andJuliaM edina(ConsulateDirectorofBusinessDevelopment)wouldpressure
       facility employeesto keep the residents.In biw eekly telephone calls,they w ould often ask,tICM

       w eextend the days?''



                                                        57
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 60 of 97




                    Facilitymanagersalsothreatenedemployees'jobsiftheyrefusedtotrytokeep
      residentsbeyond a planned discharge date. In one case,Relatorarranged fora residentto be

      discharged to hospice carebased on the requestoftheresident'sfam ily. Atthe tim e,theresident

      w asreceiving rehabilitative therapy and vzasin a high-paying RU G level. Carmen Telot,the

      facilityED atthetime,toldRelator,lr o youwanttoloseyourjob? Callthem backandtell
      hospiceto waituntilrehab is done.'' In anothercase,theFacility ED ,Elsie Justilien,told

      Relator,tçlfwedon'tkeepthecensusup,wecana11loseotlrjobs.''lnanothercase,aresident
      wasdeniedhospicetmtilafterskilledserzices(theM edicarestay)wascompleted,basedon

      Justilien'sinstructions.
             163. Forexam ple,Hillcrestçtrode out''elderly,tenninalresidentE.P.'S loo-day SNF

       benefit.Thisresidentwasadm itted to thl
                                             zHillcrestfacility on oraroundJanuary 120,2017.

       BetweenJanuaryandApril2017,Hillcrestsubmitted(andDefendantscausedtobesubmitted)
       one orm ore falseclaim sto M edicareforthisresident. Defendants'em ployeesknew thatthis

       residentsuffered from aterminalillnessand w ould notlikely benefitfrom skilled therapy.

       However,Defendants'em ployeesprovided herwith enough therapy to receive reimbm sem entat

       thehighestRUG levels($%U1tra''and%sveryHigh'')forexactly 100days-theentirebenefit
       period-beforedischarginghertoreceivehospicecareonApril19,2017.Thefalseclaimts)
       wercbased on M DS A ssessm entscom pleted forthisresidenton oraround Janual'y 16,2017,

       January 23,2017,February 6,2017,M arch 8,2017,M arch 15,2017,M arch 20,2017,and April

       7,2017.
              164. On January 10,20l7,oneday afterthisresidentwasadmittedtotheHillcrest

       facility,oneofhertherapistsnotedthattheresidentwast:alnl81y/ofemalewithsignificantll/o
       ofdementia...notedtohavepneumonia...notedtohavelungmassalso...(and)hasshunt



                                                     58
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 61 of 97




       fordraining fluid in the brain thatgoes fl'
                                                 om herhead to drainage nearherstom ach.'' The

       residentwasneverthelessprovided w ith asm uch therapy asshecould tolerate,so asto enable

       H illcrestand D efendantsto billCM S atthehighestRU G levels. ltw asnotuntilthe 99th day of
       herbenefit-period stay atH illcrest,on April18,2017,thatthe resident'streating physician,Dr.

       CleopatraGordon-pusey,recom m ended thatthis:481y.o.lady w ith h/o m etastatic;lung cancer''

       be discharged forhospice care. '
                                      Fheresidentw asdischarged thevely ncxtday - the 100th day of

       herstay,and the finalday H illcrestw ould receivepaym entsforthe resident'streatm entunder

       M edicare PartA . The residentdied lessthan onew eek later.
              165. TheM DS A ssessm entssubm itted to CM S were false and fraudulent,because they

       reported therapy m inutes thatwerenotnecessary given thisrcsident'sageand tenninalillness,

       and becausethey contained RU G levelsthatdid notaccurately reflectthe actualamountof

       therapy needed by theresident. W hile tbeM DS Assessm ents did notçsaccurately reiectthe

       resident'sstams,''42C.F.R.j483,204g),Defendants'employeessignedtheMDSAssessments,
       falselycertifyingthattheywereaccurate.See42U.S.C.j1395i-3@)(3)(B)(i);42C.F.R.
       j 483.20(i)(2)'
                     ,Ex.2,jZ,at38.ThebillssubmittedtoCMS forthisresidentwerelikewise
       falsebecausethey contained the fraudulently inflated RUG levelsreported in those M DS

       Assessments. D efendants'employeesknew,orwere deliberately ignorantorreckless in not

       V ow ing,thatthese M D S A ssessm ents and resulting billsw ere false.

              166. TheM DS A sscssm entcom pletcd and sentto CM S on oraround M arch 8,2017,

       w ascoded RU G Ultra ttRUB''and signed and certified by Defendants'em ployees

       CQTCYELLEN ''and CtV CH AM BERS 1.'' The M D S A ssessm entcompleted and sentto CM S on or

       around April7,2017,w ascoded RUG V ery High EtRVB''and signed and certifictlby

       Defendants'em ployeesCCTCYELLEN .'' Atleasttwro specificD efendantem ployees:



                                                      59
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 62 of 97




       éT CYELLEN ''and ItV CHAM BERS1,''caused atleasttwo falsified M D S Assesslnentsto be

       subm itted to CM S.
              167. Thisschem e also included refusing to release residents. AnotherHillcrest

       resident,J.B .,had fam ily who w anted H illcrestto dischargehim in 2015. The fam ily stated that

       thisresidentwasbeing keptin H illcrestagainsthis will. Atthe tim e,the residentwasstillon

       rehabilitative therapy and w asin a high RU G levelforM edicare reimbursem ent. Theresident's

       son requested discharge by em ailon N ovem ber8,and thatem ailwasview ed by Consulate's

       AssociateCorporateCounsel,GabrielStrine.Toavoiddischargingtheresident(inorderto
       maintaintheM edicarecensus,including J.B.atahighM edicareRUG Ievel),ther-facilityED
       K athleen Hawk ignored the discharge requestfordays. W hen thc resident'sson becam eangry at

       H illcrest'srefusalsto dischargehis father,Hawk sentFacility em ployeesto look atthe resident's

       hom ew ith the intention thatthey reportthattheresident'shom epresented som eçîsafety issuesy''

       asan excuse forthe Facility's failure to release the residentupon request. The M DS Assessm ent

       and claim ssubm itted to CM S forthisresidentdtlring theperiod thatHillcrestrefused to

       discharge the residentw ere false and fraudulent,becausethey did notttacclzrately reflectthe

       resident'sstatus.''42C.F.R.j483.204$.n eMDSAssessmentsrepresentedthatthisresident
       neededtherapy thathedidnotin factneed orwant.Asaresult,theRUG levelsreflectedonthe

       M D S A ssessm entsw ere intlated. The claim ssubm itted to CM S forthisresidentwere likew ise

       false because they contained the fraudulently inflated RUG levelsreported in thoseM DS

       Assessm ents. H illcrest'sm anagem entparticipated in the schem e to hold thisresidentagainsthis

       willandprovideunnecessary treatment,and knew,orweredeliberatelyignorant()rrecklessin

       notV ow ing,thatthe M D S Assessm entsand resulting billsw erefalse.




                                                      60
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 63 of 97




              168. ResidentJ.B.w asfnally discharged on N ovem ber 17,afterhisson'srepeated

       com plaints. Relatortm derstood thatresidentJ.B.w asbeing held againsthiswillJttld thatthe

       hom e visitwasa ruseto coverthe faillzreto releasehim ,w hich H aw k only im plernented when it

      w ascleartheresident'sson would notreëentin seeking hisfather'srelease.

              169. Accordingly,onoraroundNovember2015,Hillcrestsubmitted(andother
       Defendantscausedto besubmitted)oneormorefalseclaimstoM edicareforthisresident.The
       false claim sw ere based on M DS Assessm entscompleted around thattim e which indicated that

       theresidentw asstillreceiving necessal'y rehabilitative therapy ata high RUG levelforM edicare

       reim bursem ent,despite theresident's repeated requeststo leave the facility.

              170. TheFacility's effortsto artificially lengthen residents'stayshave been ongoing

       foryears. Corporate m anagem enthasbeen involved in these efforts. An O ctober9,2013 em ail

       reflects thatFacility em ployeesw ererequired to reportto the Consulate RegionalVicePresident

       aboutthedaily discharges. Thecom m unication reflectsthatthe facility w asrequik
                                                                                      red to explain

       andjustifyanydischarges,andalsoattemptedtoconvinccresidentstostaylongerandheldthem
       despiterequeststo bereleased.
                      Arotm d the sam etim e,on October 10,2013,Joanne Alvarez,ConsulateRegional

       D irectorofAdm issionsforSoutheastFlorida,berated Hillcrestemployees in an e-m ailthatalso

       wenttoConsulateRegionalVicePresidentFrankPhillips,sa/ng:45M edicaredischargesinone
       day ...W c need to have bcttcrcontrolofourM edicarcDischarges. W ecan N OT have 3 or

       moreschedulethesameday,''on aday whenthreeresidentswenthomeasplannedandone

       residentexpired.Alvarez asked toknow whathappened.
               172. H illcrestA ssistantED D ennis Siegelexplained thatEkwe actually gotadditional

       billable M edicare daysby convincing the fam iliesto keep them here longerthan theirrequested



                                                       61
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 64 of 97




       discharge dates,''referring to residentsB ,N.and E.J..
              173. The pressureto keep M edicareresidentsfrom leaving D efendants'facilities

       continued in 2014. Forexam ple,RegionalVice PresidentM iriam Pastorasked H illcrest

       employeesin one em ailfrom M arch 27,:
                                            2014,EçW izy arew e having 3 M edicaredischargestoday

       team?glIneedacompleterecapwithfacilityeffortsforthose3....''
              174. These effortsw ere notcollfined to H illcrest. Pastorrequired a11facilitiesin her

       SoutheastFlorida region to ttcontroltheback door''by keeping residentsin the facilities. In

       M arch 2016,Pastorasserted thata11em ployeesneeded to be involved in the effortsto force

       censusgrow th: tterhisis nota function fortheED orDOA only,itisateam effortatthe center

       levelandwemustgettogetherandstrategy'sgsicl.''
              175. Pastorfurtherw am ed em ployees: tsY ou need to be a1loverthis ...8 adm issions

       and 33discharges.W ecannotsustainthesenumbers...weneedtheteam topulltogether,work

       thebusiness,m anage the discharges,and keep theresidentsw e dohave in house.'' Shesaid she

       would have callswith the team on the issueand w ould ççexpectsom e solid resultsthisw eekend

       gofMarch12& 13,20161andthroughouttheweek.''PastoralsostatedthatshewouldK&re-start
       FOCU S CALLS w ith centersbelow budget/skillm ix''in orderto pressure employeesto push

       M edicare services on residents.
               176. Pastoralso required participation ofthe SoutheastFlorida facilitiesin m arketing

       m eetingsabouttt-l-erritory M anagem ent,''w hich included discussionsaboutpushing M edicare A

       servicesand disenrolling fam iliesfrom I1M Osto pick up M edicare A . The goalw asto generate

       M edicareA revenues,notcare forresidents: <tW e mustreview allplanned dischargesand assure

       there isnothing elseTherapy orClinicalcan do.''




                                                       62
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 65 of 97




              177. Pastor'spressuring ofSoutheastFlorida facilitiesin M arch 2016 cam e directly

       from Consulate'sVicePresidentofAdm jssionsand Business Developm ent,Patricia

       W ashington. W ashington m onitored censusatHillcrestand otherConsulate facilitiesin detail,

       and putpressure on a11RegionalV icePresidents,including Pastor,to increase theM edicare

       revenuesattheirfacilities. W ashington,forexample,in one weekly em ailto RegionalVice

       Presidents,called outthe facility asttthe biggestoffenderin volum ein and out,''au
                                                                                        nd praised the

       Southw estFlorida region because ttthey shuttheBACK doorl''
              178. W ashington im plem ented variousrequirem entsforal1the regions to increase

       Medicarebilling,includingthattheçtRegionalteam Emlustbeintheloopon(a111skilled
       dcnialsy''- i.e.,ifa facility'sprofessionalsconcluded thataresidentdid notrequire sldlled

       servicesortherapy,theCorporateRegionalTeam (includingRegionalVicePresidents)wastobe
       inform ed,so thatthey could ovenidethedecision in orderto increaseM edicarerevenues.

              179. Inaddition,W ashingtondeclarcdthatlçcentersoffplan(f.c.,notmeetingthe
       budgetestablishedbytheCorporateownerslshouldbehavingstrategicfocuscallsandvisits.1
       willassistw ith sam e.'' The tdstrategic focuscallsand visits''were a m eansofputting pressure on

       a1lthe facilitiesin Florida to artificially increase M edicarebilling.

              180. W ashington also required thatthefacilitiestEsetgoals to increase conversion

       ratio's,''so thatm oreresidentswould be flipped in orderto increase revenue.

              181. W ashington emphasizcd,GtW E M UST m anagethe Back Doorwhatisthe LOS on

       thecentersoffplan?u''n eterm LOSreferstoLengthofStay.W ashington demandedthatal1
       facilitiesthatwereunderbudgetincreasethenumberofdaysresidentswereheld in orderto

       increase revenues.
              182. ln addition,H illcrestand the otherofDefendants'facilitieswere required to



                                                        63
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 66 of 97




       reportalldischargesto Consulate m anagl
                                             am ent,such asJoanne Alvarez,RegionalD irectorof

       A dm issionsforSoutheastFlorida,and to discussalldischargesw ith Consulatem lmagem enton

       regular callsso thatdischargescould belnonitored and residentsheld atthe facilitiesto increase

       M edicarebilling.

              183. Pressure to retain residentsw ascomm on. Forexample,on M ay 2ti,2015,Joanne

       A lvarez em ailed scveralindividuals,including theH illcrestED ,GenesisRehab M anagcr

       AnjanetteW ilson-Reece(whowasalsoDirectorofRehabatHillcrest),GenesisRehab
       CoordinatorTerri-A nn H enry,and ConsulateRegionalV ice Presidents,am ong others,to ask,

       çW ny chancew e can hold Friday discharge??''forHillcrest. Alvarez w asrequesting that

       HillcrestcomeupwithsomereasontoholdtwoMedicareresidents(G.H.andG.V.)longerthan
       required in orderto obtain extrabilling,likely to m eetm onthly budgets.

              184. Every dischargew asm etwith pressure from m anagem entto explain ttwhatis

       going on''w ith the residentand dem andsto figure outwhatS'elsecan be done''forthe residentso

       they would notbedischarged.

              185. The GenesisD efendantsparticipated in the efforts to increaseM edicarerevenues

       forHillcrestand D efendants'otherfacilitiesby extending the stay ofresidentsbeyond the

       appropriate discharge date.
              186. Untilthebeginning of2017,Relatorattended periodic UR m eetingsthatw ere

      used to strategizc on extending residentstays. TheU R m ectingswere attended by the Hillcrcst

      ED,theAssistantED,theBusinessOfficeM anagerC%OM''),theM DScoordinator,theGenesis
      D irectorofRehab,and each unithead. During theUR m eetings,the rehabilitatiolldepartm ent

       discussed each resident's status and thenumberofm inutesoftherapy thathave been provided to

       each resident. These data determ ine a resident's RUG leveland paym entam otm t. lfitappeared



                                                     64
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 67 of 97




       thataresidentwould getdischarged soon,the officialsatthe m eeting would look forways to

       avoid discharging theresident. ln otherw ords,they soughtexcusesto keep residents atthe

       facility,regardless ofthe resident's desire and ability to be discharged. Relatorcom plained at

       these m eetingsthatthis approach w asim proper,butthepractice ofm anufacturing reasonsto

       retain residentswho shouldbedischargedhascontinued.
              187. Follow up from theUR m eetingsincluded additionalpressure fronlConsulate

       m anagem ent. Forexam ple,on W ednesday,M ay 21,2015,tivem inutes afterreceiving an em ail

       tçupdatefrom UR m eeting held today''atHillcrest,Pastordem andcd an explanation ofçlthe

       circumstancesrelatedtosuchashortLOS(length-of-stayqforthe13daygoinghometoday,''
       referring to a M edicare residentwho had been atHillcrestfor 13 days. A sitttm w d out,the

       residentwasorderedtohavebeendischargedtwodaysearlier(onM onday),andwaswalking
       300 feetw ithoutany assistive device,butbecause ofthebudgetpressuresim posed by

       m anagem ent,H illcreststaffhad convinced theresidentto rem ain fortwo m ore days,despitethe

       doctor'sorderto discharge the residenton M onday.

               188. W eekly(andevendaily)reportsondischargeswereroutinelysentfrom Hillcrest
       and otherfacilitiesto Alvarez,asw ellasRegionalVicePresidentsPastor,Chesser,and Phillips,

       so thatthey could putpressure on em ployeesto extend the stay ofM edicare residentsto increase

       billing.
               189. Alvarez also hcld discharge calls to closely m onitordischargesin realtim eto

       enstlrethatM edicareresidentswereheld longerin orderto increasebilling.Asnotesfrom the

       July 23,2015 callindicate,atleastoneM edicare resident,J.G .had been extended from

       discharge at76 daysto 100 days. These callsalso addressed flippers,w hich isanotherform of

       M edicarc fraud discussed furtherbelow .



                                                       65
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 68 of 97




              190. ln early 2017,afterRelatorand othersexplained thatthe residents did notw ant

      m oretherapy and w anted to be discharged to theirhom es,Consulate,G enesis,atxlother

      m anagem entem ployeesstopped stating the amountand m inutesoftherapy provided to the

       residentsattheU R m eeting and refused to provideitupon request.N ow thattherapy m inutes

       arenotdisclosed,there ism ore room form anipulation ofthose m inutesto ensure thatthe high

       RUG levelsrequired are m et,withoutdisclosing theirfraud to Relatorand others.

                     Before 2017,the therapy provided to M edicare PartB residentsw asalso

       discussed atthe UR m eetings.Beginning early in 2017,M edicarePartB therapy is no longer

       discussed in UR m eetings,exceptto reportwhen residents arereaching the end ofskilled

       services.
              3.     DifferentialTreatm entofM edicaid R esidents
              192. In stark contrastto these effortsto m axim ize M edicare reim bursenlentby forcing

       residentsto tm dergo the highestlevelsoftherapy and to stay in theirfacility untiltheirM edicare

       coverage expired,Defendantshave taken,and continueto take,the opposite approach w ith

       M edicaid residents,whose per-diem paym entsare much low er.U nliketheirapproach to

       M edicareresidents,D efendantsdo notlook forreasonsto give M edicaid residentsrehab therapy,

       and ordinarily provide,atm ost,restorative nursing servicesonly unlessa resident'sfam ily

       complains and requeststherapy.In atleastone instance,obtaining necessary therapy fora

       resident,T.R .,required the fam ily to engage ahealth om budsm an and even thishasonly been

       partially successfulin obtaining fortheresidentthenecessary therapy thatshould beprovided

       underM edicaid.
               193. Thisisnotan isolated instance.Relatorestim atesthatabouthalf()fHillcrest's

       M edicaid residentsm ay notbereceiving thetherapy servicesthey require. H illcrestnevertheless




                                                      66
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 69 of 97




       acceptsf'ullpaym entfrom M edicaid forthese residentsand doesnotinform M edicaid that

       required services arenotbeing provided.
              194. W hen discussing upcom ing dischargesduring w eekly discharge calls,the

       corporate supervisorsw ould notask thel:
                                              bcilitiesto com eup w ith waysto avoid discharging

       Medicaidresidents(unlikeM edicareresidents).
              195. lndeed,A HCA filed an adm inistrative complaintagainstHillcrestforprecisely

       thisbehavior.A fterconducting a licensure com plaintsurvey on June 19,2015,AH CA

       tsdeterm ined thatthe facility failed to obtain physician ordersto provide care and servicesfora

       (M edicaidjresidentwho wasassessed upon admissionasatrisksforfalls.''gHillcrestSettlement
       andFinalOrderq Becausethisresident'sktpayorsource''wasM edicaid,andHillcrest(and
       Defendants)onlystoodtoreceivea1ow per-diem flatratefortheresident'sstayatthefacility,
       theresidentwasnotprovided a care plan to addresshisfallrisk. As aresult,çttheresidentdied

       on5/28/2015from fallinjuries.''
              196. Hillcrest'sactions caused false claim sto be subm itted to the United Statesand the

       State ofFlorida. ln one case,H illcrestfailed to provideany treatm entw hatsoeverbeyond basic

       restorativenursingservicestoM edicaidresidentD.Q..Asaresult,on oraroundApril17,2017,
       thisresidentwasfound dead in herroom atthefacility,sitting on thefloorwith herback against

       hercloset.Onoraround April2017,Hillcrestsubmitted (andDefendantscaused tobe
       submitted)oneormorefalseclaimstoMedicaidforthisresident,whowasnotprovidedwiththe
       reasonableand necessary carerequired to preventherdecline and ultim ate death. Hillcrest's

       management(aswellasConsulateandcp
                                       therDefendants)kncw,orweredeliberatelyignorantor
       recklessin notknow ing,thatbillsforthisresident'streatm entwere false.




                                                       67
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 70 of 97




                197. Sim ilarly,w hile Consulateand Genesism anagem entexpected em ployeesto

      figure outa w ay to Eçride out''the 100-day'paym entallotm entforM edicare residentsand to Ixflip''

      M A Plan residents,thedischarge ofM edicaid residentsassoon aspossible regardlessoftheir

      m edicalcondition w as encom aged. Justilien,aswellasthe D OR and BOM atHillcrest,w ould

      referto M edicaid residentsashaving 'tno payorsource.''
                198. M edicaid residents also suffered from alack ofcare atH illcrest,asevidenced by

       recurring health situations,including developm entofpressure ulcers. To coverup these

       conditions,H illcrestemployeesfalsified reportsregarding the condition ofresidcnts. For

       example,on the quarterly M DS Assessm entofHillcrestresidentR.P.,subm itted on oraround

       February 9,2017,H illcrcstem ployeesreportcd thatR.P.had no unhealcd pressureulcers. By

       M arch 27,2017,peranotherM D S A ssessm ent,however,asofthe priorM D S Assessm ent,R.P.

       had tw'
             o unhealed Stage 3 pressureulcers,and oneunhealed pressureulcerthatwas ds
                                                                                     unstageable

       .. .   duetosuspecteddeeptissueinjuryinevolution.''TheMarch27,2017MDSAssessment
       falsely reported thatthesepressureulcerswere dl
                                                     presentupon adm ission/entry orreently ''asif

       they had notoccurred atH illcrest.

                 199. M edicaid requiresSNFStoprovideaccurate quarterly reportsregarding residents.

       ln the case ofR.P.,and otherresidents,H illcreststaffknow ingly falsified such reportsin orderto
       avoid providing the inform ation required by M edicaid,butaccepted paym entanyway. T'
                                                                                           he

       m otive forthatfalsitication was to avoid drawing attention from AH CA thatcould lead to severe

       financiallossesvia fines,denialsofpaym ent,oreven facility shutdown.

                 200. Defendantsalso refuseto follow rulesthatpermitM edicaid residentsto return

       ahera shortdischarge to the hospitalfrom a facility. UnderM edicaid rules,a SNF isrequired to

       m aintain an eight-day ttbed hold''allow ing adischarged residentto retum . Hillcrest,at



                                                      68
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 71 of 97




      Consulate's instruction,doesnotfollow thisrule. In onecase,M edicaid resident,C.P.,was

      discharged to M em orialH ospitaland asked to return to the facility w ithin a w eek ofher

      discharge. TheED refused to allow theresidentback.D espitetheM edicaid requirem ent,

      Justilien w ould notperm itC .P.to remrn to theFacility,and instnlcted thatthe hospitalbe told

      ççw ehave no bedj''although there w asabed availableforC.P. Justilien took thisaction so that

      H illcrestcould avoid using a bed forM edicaid residentC.P.and avoid the hospitalreporting

      Hillcrestto AH CA fordum ping aresident. On inform ation and belief,thispractice isconsistent

      in otherConsulate facilities.
             4.      False and FraudulentR et
                                            cordation ofTherapy to IncreaseM edicareBilling

             201. D efendants Genesisand C'onsulate also participatein overstatem entoftherapy

       chargesto increaserevenues.
                     ThisoverbillingstartsfrolnwhenresidentsarriveatHillcrest. ln Relator's

       experience,every new residentcom ing i1lto H illcrestisscheduled forphysicalthcrapy and

       occupationaltherapy five tim esperweek forthe firstfiveorsix weeksoftheresident'sstay.

       n istherapy isscheduled to obtain higherRUG levelsforbilling purposesregardl
                                                                                  tessofresident

       condition.On information andbelietlthisisalsothecaseatotherConsulatefacilities,because
       Genesisalsoprovidestherapy servicesatthoseSNFS.
              203. Onetherapist,em ployed by G enesis,told RelatorthatD OR Tolliverinstructs
       therapistsnotonly to perform group therapy fora num berofresidentsatthe sam etim e,butto

       code the serviceprovided asindividualtherapy foreach resident,in orderto obtain the higher

       reim bursem entnm ountprovided forindividualthcrapy foreach resident. UnderM edicare nzles,

       timespentin group therapy isdivided amongthemembersofthegroup;forexample,each

       residentin athree-persongroup therapy session lasting 60 minuteswouldbecredited20minutes

       oftherapy time.Tolliver'sinstructionsweretomisrepresenttheamountoftimecreditedby

                                                       69
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 72 of 97




      giving each resident100% ofthe group m inutes;in the previousexample,forinstancc,each

      residentw ould be falsely reported to havereceived 60 individualm inutesoftherapy.

             204. The sam etherapistalso told Relatorthatshehad provided 15 m inutesoftherapy

      to oneresidentand recorded the session assuch,butthatthetherapistlatersaw thattthe am ount

      oftim elisted in theresident'srecordshad been changed from 15 minutesto 60 m inutes.W hen

      the therapistasked Tolliveraboutthe discrepancy,Tolliverstated thathe changed the am ount

      becausehepersonallyprovidedadditionaltherapytotheresidenttojustify theincreasedamount.
      '
      I'
       he therapisttold Relatorthatsheknew Tl
                                            rolliverhad notacm ally provided thatadditional

      therapy. Even ifhe had provided therapy,Tollivercould notperm issibly billforthattim e

      becauseheisnota licensed occupationaltherapist. lnstead,he isonly an occupationaltherapy

       assistant(Floridalicense#OTA10631).'rherapymustbeprovidedbyorunderthedirectionofa
       licensed therapistto bebillable to federalprogram s;therapy provided by an occupational

       therapistassistantwho isnotacting underthedirection ofa licensed therapistcannotbe billed.

              205. In fact,itisunusualforan individualwho isnotlicensed asa therapist,such as

       Tolliver,to hold a position asa DOR ,becausethe DOR supervises licensed therapists. Tolliver

       cam e to theH illcrestfacility asthe DOR in oraboutApril2016,and had workcd for Genesis

       priorto thattim e. Afterhearrived atH illcrest,Tolliverboasted to otheremployeesthathe knew

       m embersoftop m anagem entatG enesis and did noteven need an intervicw to gethisposition.

              206. Tolliverhasbeenthesubjectofatleastfourcomplaintsofmisconductfiledbyhis
       subordinates.Relatortmderstandsthatthosefourcomplaintsweresupposedly investigated in

       som em anner,butthatnone ofthe Defendants choseto take action againstTolliver. Severalof

       Tolliver'ssubordinateshavetold RelatorthatTolliverhaspriorcrim inalconvictions on his




                                                     70
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 73 of 97




       record and owns guns,and thatthey areafraid ofphysicalretribution from him . ()n inform ation

       and belief,Tolliverhas apriorarrestrecord fordom estic violence involving a firearm .

              207. As one exam ple ofpressureplaced on Hillcrestem ployees when a residentwas

       evaluated asnotrequiring therapy,on June 5,2015,afteran evaluation,H illcrestRehab M anager

       AnjanetteW ilson-ReececoncludedthatresidentJ.D.wasttnotappropriatefortherapyservicesat
       thistim e.'' Herconclusion w asprom ptly questioned by JacintheM ontoban,Lcad M DS

       CoordinatoratHillcrest,who suggested thatSpeech Therapy should evaluate him because tçhe

       m ay havesom e type ofsw allow ing problem .'' Shew asthereafterinform ed thatresidentJ.D .'S

       m edicalcondition precluded offering therapy forswallow ing,butthis exam ple illustratesthe

       type ofpushback al1em ployeesreceived in orderto m eetConsulatebudgets.

              5.     Flipping ofM edicare AdvantageR esidentsto IncreaseM edicareBilling
              208. Consulate and G enesisD efendantsalso rely on apractice they callçsflipping.''

       Residents covered by M A Plansare entitled to switch from M A Plansto M edicare attheiroption

       by subm itting a disenrollm entrequest. lfaresidentdisenrolls from aM A Plan,M edicare m ay

       begin paying fortheresident'scoverage on the firstday ofthe nextm onth.

              209. As SN F residentscovered by M A Plansim prove in function and approach

       readinessto discharge,itisrarcly in theirinterestto disenrollfrom theirM A Plans. This is

       because the M A Planstypically provide som e protection againsta post-discharge decline in

       statusand can allow the residents to return to the SNF afterdischarge ifneeded,using the

      balance oftheir loo-day SN F coverage benefit. lfa SN F residentcovered by M A Plans

       disenrollsand relies on M edicare,thatresidentwould notbe able to retunzunless he orshc

       suffersfrom an acute incidentresulting in a three-day hospitalstay.

              210. M ile SN F residentsapproaching discharge ordinarily do notstand to benefit

       from disenrolling,Defendantsbenefitwhen residentsare disenrolled. M A Plansare tm ically

                                                     71
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 74 of 97




       adm inistered by HM Os orinsurers,which providea doctorindependentofthe SNF to determ ine

       whethercontinued SN F care isneeded. Forresidents covered underM edicare,hcw ever,no such

       independentoversightexists,and D efendantscan improperly failto dischargeresidents in order

       to continue receiving high per-diem paym ents forthe rem ainderofthe resident's loo-day

       benefit. F0rexample,ifan independentdoctorwerc to evaluate a residentand ordera discharge

       after25 daysin thcFacility,D efendants gtand to receivepaym entsfor an additiomal75 daysthat

       they would nototherwisegetby convincing the residentto disenrolland rem ain in theFacility.

       n isispartofConsulate and G enesisD efendants'practiceofttriding out''residents'loo-day

       SNF care benefit.

              211. Thepracticeofflippingissimilarlybasedonrevenueconsiderations(andnotfor
       thebenefitoftheresidents).Residentrecordsareregularlyreviewedtoseewhocouldflipand
       em ployeesare required to regularly reportto Consulatem anagem entaboutresidentswho are

       eligibletoflipandtojustifythereasonaresidenteligibletoflipwasnotflipped.
              212. Itisplainthattheflippingoccursprimarilyforpurposesoffacilityrevenue(not
       residentcare).AnApril28-29,2016e-mailchainfrom JustilientovariousHillcrestemployees
       m akes thisclear. Justilien firstinstructed tht employeesto ttsee ifwe can getatleast4 outof5

       (residentsqflipped,''andinafollow-upemail,statedtçflippingthesepatientswillbelpstabilize
       OUr CCn SUS.

              213. Forseveralyears,Consulate regionalsupervisorsw ould hold twice-weekly

       ççdischargecalls''w ith stafffrom a11facilities in theirregionsto force the facilitiesto engage in

       flipping.'I'
                  hecallwouldberunby theConsulateRVP and regionaladmissionssupervisor,and

       facility staffw ould typically include each facility'sED ,D irectorofN ursing,adm issionsdirector,

       case m anagem entpersonnel,and socialservicesdirector.Relatorparticipated in these weekly



                                                        72
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 75 of 97




       calls. During those calls,the RVP w ould ask how m any potentialçtflippers''each facility had out

       ofitsresidentson M A planswho w ere slated to be discharged. The EDsofthefacilitieson the

       callw ould then identify specific residentswho could be worth %çflipping''to keep them in the

       facility so thatDefendantscould continue to receive incom eforthem . Any facility thatw asnot

       identifying enough potentialflippers and successfully flipping them waspublicly sham ed by the

       supervisorson the call. A fterthew eekly calls,staffatthefacilities,including casem anagcm ent,

       adm issions and rehab em ployees,w ould speak to thepotentialç&flipper''residents and any

       involved fam ily m em bers to try to convillce them to disenrollfrom theirM A Plansand stay at

       thefacility longer.
              214. ln Relator'sexperience,C'
                                           donsulate m anagcm entwould focusparticularattention

       on trying to flip residentswho were hom elessorhad no outside fam ily involved. These residents

       would betargeted forflipping because they w ould be m ore likely to stay in the facility w ithout

       questioning them edicalbasis forrem aining there orinsisting on asubsequentdischarge.

              215. Forexample,inoraboutfDctober2017,HillcrcstsubmittedtandDefendants
       causedtobesubmitted)oneormorefalseclaimsforaresidentreceivingdialysis,M .W .The
       falseclaimts)werebasedonMDSAssessmentscompletedinoraboutOctober2017.This
       residentwason a Hum ana M A plan,which provided herw ith transportation to dialysis. Shew as

       flipped by the facility to M edicareA in orderobtain the 100 daysofM edicare coverage,under

       the edictthatifaresidentwillstay long term ,thefacility ncedsto gettheir 100 M edicarc days.

       M edicare,how ever,doesnotprovide transportation to dialysisand,as aresult,the resident's son

       had to m oveto Florida from N ew Y ork to transporthis motherfrom dialysis on Tuesday and

       Thursday,and roundtrip on the weekend. ResidentM .W .wastlipped w ithoutinlbrm ing heror

       herfam ily ofthe fulleffect,so thatHillcrestcould billM edicare for 100 days.




                                                       73
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 76 of 97




              216. M en Relatorrefused to participatein tlipping ofresidents,corporate

      m anagem entpersonnelcam e down to m eetwith herin person. TheConsulate pelsonnelwere

       Alvarez(ConsulateRegionalM arketing& BusinessDevelopment(ECRMBD'')Directoruntil
       April2017),Pastor(ConsulateRVPofO'
                                        perations),JuliaMedina(Consulate'sDirectorof
       BusinessDevelopmentCçDBD'')),andKathleenHawk,whowasthenthefacility ED.They
       asked Relatorto identify possible flippersand then A lvarez,Pastor,and M edinacom pleted the

       flipping paperwork to changethose residents'insurance coverage. Pastorw asespecially

       aggressive aboutConsulate'sinsistenceon flipping,telling Relator,ûçY ou need to flip these guys,

       don't1etthem go hom e.''
              217. ln addition,w hen a residentisto be flipped,there isrequired papelw ork to be

       signed by the resident,ortheresident's fam ily iftheresidentisincom petent. The instrtlctions,

       however,9om Justilienandcorporatesupervisorsweretoçjusttakeaverbal''authorizationfor
       theflipping ifthe signature isnotreadily available,in orderto expedite flipping.

              218. One HM 0 physician,Dr.FrancesCadogan,refused to sign offon llipping.

       H illcrestm anagem ent,including Justilien,w ould ask Relatorto tellDr.Cadogan thatresidents'

       fam ilieswanted them to stay longer,despite the factthatDr.Cadogan had already concluded that

       the residentscould be discharged from therapy. D r.Cadogan indicated thatshe feltitw as

       im properto continuetherapy underM edicare fora residentw ho had already been discharged

       from therapy while covered by an M A Plan.
              219. 0n oraround October 10,2017,Dr.Cadogan inform ed H illcrestthatshe wasto

       be rem oved asthe M .D .forany residentthatHillcrestiipped to M edicare in orderto continue

       therapy aherdischargeundertheresident'sM A plan,becauseshecould notsupportorcondone

       the flipping to extend the stays ofresidelltsforbilling purposes.



                                                      74
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 77 of 97




             220. EightHillcrestresidentsw'
                                          ereaffectedinOctober2017.Essentially,justafter
      Dr.Cadogan concluded thatthese residentsdid notrequire additionaltherapy,they w ere flipped

      by Hillcrestto M edicare and therapy ordersform ultiple therapy sessionsperw eek,forseveral

      weeks,were instim ted.
                    Relatorhas observed thatH illcrestalso increasesrevenuesby billing M edicare
      PartB afterthe loo-day stay perm ittcd by M edicare PartA . On inform ation and belief,this isa

      m annerby which Genesisand D OR Tolliverimproperly increase H illcrestM edicltrebilling.

             6.      Steering ofBusinessto Hospice ProviderH eartland H ospice
             222. Justilien also steered work to a particularhospice provider,H eartland Hospice,

       despite the factthatthe otherhospice providerscan providebetterorm ore com prehensive

       services orthatresidentspreferotherhospice providers.Forexam ple,in A ugust2017,when a

       nursedidcallVITAS Hospiceforaresident,Justilien demanded to know who calledVITAS.

              223. Heartland H ospice isaffliated with HCR M anorcare. Dr.Cleopatra Gordon-

       Pusey,whom Justilien know s,is associated with Heartland Hospice. On inform ation and belief,

       Justilien hasworked forH CR M anorcare,and w orked fororreceived som e m annerof

       com pensation from Dr.Gordon-pusey forrefening residentsto H eartland H ospice.

              224. Beforc Justilien'sanivalin 2016,the priorFacility D irectorrecom m ended the

       hospice providerthatw ould providethe bestcare foreach resident. A tthattim e V ITA S H ospice

       had a standing contractfortwo room sw ith two bedsatthe facility so thattherew ould alw aysbe

       space available forfourV ITA S H ospice residents.Justilien knew thatthose bedswerepaid for

       undercontractw ith VITA S butneverthelessplaced residentsin thebeds and billcd M edicare for

       theirstays. VITA S'Sm arketing representative,Brenda Bean,spoke with Justilien aboutdouble

       billing forthosebeds,rem arking,$&wewon'tlook goodin orange.''Eventually,Justilien didnot

       renew thecontractw ith V ITAS H ospice.

                                                     75
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 78 of 97




              225. Thereafter,Justilien broughtcorporate executives from Heartland Hospice to

       H illcrestto provide a presentation to Hillcreststaff Since then,perJustilien'sinstructions,a11

       hospicerequestsw ere to go through Justilien orstaffshe designated,who directed thereferralsto

       H eartland H ospice.

              7.     Participation ofA llDefendants
              226. Presstlre w asplaced on Consulatem anagem entby otherD efendantsto m eet

       expected revenuesand budgetsbased on subm ission offalse claim s. A sstated by Formation

       Healthcare,these businessplanscom edirectly from - and perform anceism onitored by -

       Formation Healthcare,which is controlled by Form ation Capital.

              227. According to EDsRelatorhasspoken with from variousfacilities,Consulate

       R'
        Vpswho failto m eettargetnum bersforrevenuesand M edicare residentcensusestablished by

       corporatem anagem entin theirbusinessplansw illbedem oted. Relator'sregion hasgone

       through m ultiple RVPS overthe pastfew ycars,and form erRVPShave been dem oted to EDs of

       facilitiesby Consulate.
              228. The schem essetforth herein were directed by theM anagem entDefendantsand

       GenesisDefendants,which in ttlrn were controlled by Form ation Capital,the Fonmation Capital

       Defcndants,the lnvestorD efendants,and thelndividualDefendants. The M anagem cnt

       Defendantsemployed theregionalstaff,such asRVPSandregionalM DS nurses,who would

       push thefacilitiesto perform thisim properbehavior.

              229. Additionally,Relatorisawarethatindividualsreferredtoastçinvestors''cameto

       Hillcrestto tourthe building on atleastïburoccasions,including when Form ation Capital

       acquired Lavie SN FS.M aria Seger-cram er,Consulatc RVP accompanied the investorson these

       visits.Oninformationandbelietlcoincidentwiththosevisitsandaspal4ofincreasingthevalue
       ofDefendants'operationsforvariousinvestmenttransactions,FonnationCapital(including

                                                       76
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 79 of 97




      through Formation Healthcare),Form ation CapitalDefendants,GenesisDefendants,
      M anagem entD efendants,lndividualD efl
                                            zndants,Landlord Defendants,and lnvestorDefendants

      pushed form axim izing M edicare revenue,regardlessw hetherthe increased revenue was

       obtained by improperly increasing the lellgth ofresidentstays and theRUG scoresforeach

       M edicareresident,flipping,orany otherschem e,when these Defendantsknew orshould have

       known how the revenueswere generateby false claim s.
              230. Form ation Capital,Form ation CapitalDefendants,InvestorDefendants,G enesis

       Defendants,IndividualD efendants,and M anagem entDefendantsalso furthered theD efendants'

       conspiracy by hiring and causing the hiring ofsupervisorsand executives who place M edicare

       reim bursem entahead ofthebestinterestsofresidents.
              231. Likewise,Form ation Capital,Fonnation CapitalDefendants,Landlord

       Defendants,lnvestorDefendants,GenesisDefendants,lndividualDefendants,andM anagement

       Defendantssetup acorporatestrucmrethattriedtoshelterthemoneypaid by M edicareand

       M edicaid should theU nited Statesand Floridaevcrassertclaim sagainstindividualSN FSto

       recoveroverpaym entscaused by false orfraudulentclaim s.
              232. lndeed,aseconom icpressureshave increased on Defendants'operationsover

       time,Relatorhasobserved thatthesubmissionoffalseclaimshasincreased.
              233. D uring thetim e thatRelatorhasworked forDefendants,the improperbilling of

       M edicarehasincreased. M DS Coordinatorsare continually underpressure from Consulate

       supervisors and Rv psto find som e way to ensure thatbilling ism axim ized regardlessofresident

       stam s. Consulate RVPS,in t'urn,are underpressurefrom m anagem entatthevery top of

       Defendants'organization to enslzre thattinancialtargetsare reached,including targeted

       M edicareand M edicaid revenues,regardlessofresidentstatus.



                                                     77
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 80 of 97




              234. Since Hurricane Irm a,in early Septem ber2017,AH CA hasincreased inspections

       ofSNFS. n ishas1ed the facility to falsify recordsto avoid discovery ofm istreatm entof

       residentsand provision ofgrossly inadequate services.

              235. Forexample,H illcrestm anagem entfalsified the recordsofresidentE.L.to avoid

       discovery ofherm istreatm ent. This residentw asadm itted to the H illcrestfacility on A ugust4,

       2017.Be> eenAugustandOctober201'
                                      7,Hillcrestsubmitted(andDefcndantscausedtobe
       submitted)oneormorefalseclaimstoMedicareforthisresident,whichwerebascdonM DS
       A ssessm entscompleted on oraround August11,2017,Septem ber 1,2017,and October 1,2017.

       A1lthree ofthisresident'sM DS A ssessnlents indicated thatshew asreceiving enough therapy to

       justifybillingatthehighestRUG level(ççU1tra'').TheMDSAssessmentcompletedandsentto
       CM S on oraround A ugust11,2017,was coded RUL and signed by D efendants'employees

       CCD SAN TAM ARG ''and ICCD ORSA INV IL.'' The M D S Assessm entcom pleted and sentto CM S

       on oraround Septem ber 1,20l7,w ascoded RUB and signed by Defendants'em ployees

       tCD SAN TAM ARIA''and tCLVICTOR I.'' TheM D S Assessm cntcom pletcd and sentto CM S on

       oraround October 1,2017,wascoded R UX and signed by D efendants'em ployees

       ttDSANTAM ARIA''and SSVCHAM BERSI.''AtleastthreespecificDefendantelnployees

       CEDSANTAM ARIA,''ECLVICTORI,''and<VVCHAM BERS1,''causedatleastthreefalsifiedM DS

       A ssessm entsto be subm itted to CM S.
              236. The M D S A ssessm entssubm itted to CM S w ere false and fraudulent,because they

       contained RUG levelsthatdid notacctlrately reflectthe treatm entprovided to thisresident. The

       bills subm itted to CM S forthisresidentwere likewise falsebecause they contained fraudulently

       inflated RU G levelsreported in thoseM DS Assessm ents. D efendants'em ployeesknew ,orwere




                                                       78
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 81 of 97




      deliberately ignorantorrecklessin notknow ing,thattheseM DS A ssessm entsand resulting bills

      were false.
             237. Forexam ple,theM D S A ssessm entcom pleted on oraround August11,2017,

       indicatedthatthisresident:(1)didnotsufferfrom weightloss;and(2)didnotsufferfrom
       dehydration. Sim ilarly,theM DS A ssessm entcompleted on oraround September 1,2017,

       indicated thatthisresidentstilldid notsufferfrom w eightloss. ltwasnotuntilthcM DS

       Assessm entcom pleted on oraround October 1,2017,nearly two m onths afterthe residentw as

       adm itted to H illcrest,thatDefendantsnol
                                               red thisresidentsuffered from w eightloss.M oreover,

       theOctober1,2017 M D S A ssessm entcontinued to note thatthisresidentdid notsufferfrom

       dehydration.
              238. ltisclear,however,thatthisresidentsuffered from both weightloss and

       dehydration,and Defendantsrefused to provideherw ith thenecessary treatm entasrequired by

       CM S. Unfortunately,on O ctober7,201'
                                           7,residentE.L.passed aw ay because ofsevere

       m alnutrition and dehydration.A n A HCA inquiry wasm ade on or around O ctober10,2017. In

       orderto coverup D efendants'grossly inadequatetreatmentofthisresident,Justilien had a <<Do

       N otResuscitate''ordersigned forthe residentafterherdeath,backdated to O ctober6,2017,one

       day before the residentexpired. In addition,Justilien directed thatfalse recordsbeprepared

       m isstating the am ountofhydration and nourishm entE.L.had received leading up to herdeath.

       Relatorobserved nursesA ileen Johnson and Renata LNU creating thosedocum entsaRerthe

       resident's death,while AH CA w asin the facility inquiring aboutthe resident'sdeath.The

       nursesw ere in the M D S office forging the paperwork. Verna Cham bersand Sophrine Brown

       also w itnessed this forgery ofdocum ents. ln addition,Hillcrestem ployeesfalsel'
                                                                                       ycompleted

       pre-death M D S A ssessm entsregarding E.L.,failing to disclose the factthatE.L.rapidly lost




                                                      79
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 82 of 97




      w eightupon entering Hillcrest. W hen E.L.arrived atH illcrestin August2017,herw eightwas

       113 pounds.By Septem ber2017,E.L.'Sw eighthad decreased to 99 pounds,w hich w asrequired

       to be reported on the M D S A ssessm entasaw eightlossof5% orm ore,butitw asnotreported.

       By October2017,E.L.'Sw eighthad declined to 88 pounds,which w asfinally reported on an

       MDSAssessment(shortlybeforeE.L.'sdeath),butherdehydrationwasnotreportedonany
       M D S A ssessm ent. ln addition tobeing indicative ofsubstandard care,rapid w eightlossand

       dehydration are issuesofparticularconcem thatcan lead to scrutiny ofa SN F. The failure to

       reportE.L.'Struecondition wasanefforttohidehertrtzecondition(andthetreatmentof

       residentsatHillcrest)from SNFinspectors.
              239. A lso dlzring the tim eofH urricane Irm a,an elderly resident,B.0 .,who required

       oxygen wasdeprivedofheroxygen byHillcreststaff,andshedied.Hillcrestemployees,

       including Justilien,lied to A HCA aboutthe num berofstaffavailable to care fortNeresidents

       during theHunicane,in lightofB .O .'sdeath.
              240. In oraround the week ofOctober 16,2017,a Consulate CorporateRisk M anager,

       Robin Allen,cam e to Hillcrestto inquireaboutanine-page anonym ous letterreceived by

       Consulatethatreportedly detailedvariousinstancesofabuseofresidents.Eventhough

       employeesregularly reportcom plianceconcernsto m anagem ent,this isthe firsttim ethatRelator

       is aw are ofany Consulate executive com ing to inquire aboutany com pliance issuesatthe
       facility. lnstead,m anagem ent'srole hasbeen to review conductatthe facility otherthan to

       review billing and residentrecordsto identify opporhm itiesforfalse claim sforadditional

       M edicare reim bursem ent.




                                                     80
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 83 of 97




              241. ln 2017,A ssistantDirectorofNursing,Hyacinth Holness,leftthe lkcility and did

      notrettlrn. Relatorw asinfonned thatH olness'sdeparturew asbecause shew asasked to do

       som ething illegal.
              242. On O ctober25,2017,the therapistproviding servicesto residentT.S.,who had

       appeared to be in good spirits and form tarlierin theday,threw the residentonto thebed,

       triggering a fatalheartattack. The residentdicd thatsam eday.

              243. Hillcrestalso m isreports item son M D S A ssessm ents thatcould trigger

       inspectionsofthefacility.Forexam ple,one resident,S.C.,covered by M edicare,who w asnot

       alertand had no fam ily m em berto advocate on herbehalf,w asprovided such deficientcare that

       she developed fourw oundsin the facility. The wotmdslingered,butHillcrestem ployees

       m isreported thew oundson M D S A ssessm entsand Justilien refused to send S.C.outforcare,

       because she did notwantAH CA to know thattheresidenthad w ounds. S.C.died in the facility,

       likely from herw ounds,which had progressed to Stage 4,with an opening the size ofa fistwhen

       shepassed aw ay. On inform ation and belief,the facility asserted thatthe death w asdue to o1d

       age.
               244. Despite refusing to send S.C.outforcare,H illcrestand Defendantsreported on

       thisresident'sM D S A ssessm entsthatshe received enough treatm entto w arrantreim bursem ent

       atone ofthehighestRU G Rates: theRUG ttv el'
                                                  y H igh''category. On oraround M arch through

       M ay2017,Hillcrestsubmitted(andDefendantscausedtobesubmitted)oneormorcfalseclaims
       toM edicareforthisresident.Thefalseclaimts)werebasedonMDSAssessmentscompletedon
       oraround M arch 20,2017,April3,2017,April10,2017,April24,2017,and M ay 23,2017.

               245. TheM D S A ssessm entssubm itted to CM S were falseand fraudulent,because

       H illcrestand D efendantspurposefully om itted information concem ing thisresident'swounds.




                                                      81
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 84 of 97




      M oreover,the RU G levelslisted on the M DS A ssessm entsdid notaccurately reflecttheneedsof

      theresident. The billssubm itted to CM S forthisresidentw ere likew isefalse because they relied

       on the falsified M DS Assessm entsand contained the fraudulently inflated RUG levelsreported

       in theM D S A ssessm ents. D efendants'employeesknew ,orw ere deliberately ignorantor

       recklessin notknow ing,thattheseM DS Assessm entsand resulting billswere false.

              246. TheM DS A ssessm entcolnpleted and sentto CM S on oraround M arch 20,2017,

       w assir ed by Defendants'em ployee%'CDORSA INV IL.'' The M DS A ssessm entcom pleted and

       sentto CM S on oraround A pril3,2017,w ascoded RU G V ery H igh CtRV C''and signed by

       D efendants'em ployee ECV CH AM BER S1.'' The M D S Assessm entcom plcted and sentto CM S

       on oraround Aplil10,2017,w ascoded RUG Very H igh KtRV C''and signed by Defendants'

       employeetCCDORSAINVIL.''TheM DS Assessmentcompleted and senttoCM S on oraround

       April24,2017,w ascoded RU G V ery High SCRV C''and signed by Defendants'em ployee

       S%SLPERRY .'' The M D S A ssessm entcom pleted and sentto CM S on oraround M ay 23,2017,

       w assigned by D efendants'em ployee tCVCHAM BERS1.',

              247. lnearly2017,ajuryreturnedaverdictthatConsulate'sfacilitiesand
       rehabilitationproviderhad subm itted falseclaimsforover$100million toM edicareand

       M edicaidoveraperiod ofyears.lnresponse,RelatorhasobservedthatDefendantshavenot

       instituted any training oradditionalcontrolsto ensure thatfalse claim sare no longer

       subm itted. Indeed,when D efendantsw ereputon noticcofthe fraud and m istreatm entof

       residentsattheirfacilitiesboth atthe tim e ofthetm sealing ofthatcomplaintand then atthe

       verdict,Defendantstum ed a blind eye to the conditionsin theirfacilities. O n information and

       belief,D efendantsdid nottake any action to investigate further,nortire any offending




                                                      82
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 85 of 97




      employees. Rather,the culturerem ainsunaltered to thisday: false claim sare encouraged and

      required,asdescribed herein.

                                        CLA IM S FOR QELIEF

                                               CO UN T I

                   Violation oftheFederalFalseClaimsAct.31U.S.C.43729(a)(1)(N
              248. Relatorand the United Statesreallege and incom orate by reference each and

       every ofthe foregoing paragraphsasiffully setforth herein.
              249. D efendantspresented,orcaused to bepresented,false orfraudulentclaim sto

       CM S and itsagents,othergovernm enthealth program s,and M A Plans.
              250. Defendantsknew ,orw erc deliberately ignorantorreckless in notknowing,that

       these claim sw ere false.
              251. A ccordingly,Defendantsare liablefortreble dam ages,civilpenalties,and the

       costofthisactionunder31U.S.C.j372,
                                        9(a)(1)and(3).
                                                COUN T 11

                    Violation oftheFederalFalseClaimsAct.31U.S.C.$3729fa)(1)fB)
              252. Relatorand theU nited Statesreallege and incolporateby reference each and

       every ofthe foregoing paragraphsasiffully setforth herein.
              253. Defendantsm ade,uscd,orcaused to be m ade orused false or fraudulentrecords

       orstatem ents,including M DS A ssessm ents and residentrecordscontaining such M D S

       A ssessm entsand otherfalsified information,asalleged above.
               254. These false recordsorstatem entswerem aterialto false orfraudulentclaim sm ade

       to CM S and its agents,othergovernm erl
                                             thealth program s,and M A Plans.

               255. D efendantsknew ,orwm'
                                         e deliberately ignorantorrecklessin notknow ing,that

       theserecordsorstatem entswerefalse.

                                                    83
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 86 of 97




              256. Accordingly,D efendantsare liable fortrebledam ages,civilpenalties,and the

      costofthisactionunder31U.S.C.j3729(a)(1)and(3).
                                                COU NT IIl

                   Violation ofthe FederalFplse Claim sAct.31 U.S.C .4 3729(a)(1)fG )
              257. Relator and t'
                                he United Statesreallege and incorporate by reference each and

       every ofthe foregoing paragraphs asiffully setforth herein.

              258. Defendantsm ade,used,o17caused to bem ade orused false orfrautlulentrecords

       orstatem ents,including M D S Assessm ellts and otherfalsitied inform ation,asalleged above.

              259. These false records orstatem entswerem aterialto theobligation tc.pay or

       transm itm oney orproperty to CM S,itsagents,and othergovem m enthealth program s,including

       theobligation ofany Defendantswho received m oney orproperty to repay m oney orproperty
       previously im properly received from CM S,itsagents,orothergovernm enthealth program s.

              260. Defendantsknew,orw ere deliberately ignorantorrecklessin notlmowing,that

       these recordsorstatem entsw ere false.
              261. Defendantsconcealed orim properly avoided theirobligation to pay ortransm it

       m oney orproperty to CM S and itsagents.
              262. D efendantsknew ,orw ere deliberately ignorantorrecklessin notknowing,that

       theirconductconcealed orimproperly avoided theirobligation to payortransmitmoneyor

       property to CM S,itsagents,orothergovernm enthealth program s.

              263. Accordingly,D efendantsare liable fortrebledam ages,civilpenalties,and the

       costofthisactionunder31U.S.C.j3729(a)(1)and(3).
                                                 CO UN T IV

                    Violation oftheFloridaFalseClaimsAct.Fla.Stat.:68.082(2)(2)
              264. Relatorand the State ofFloridareallege and incorporate by reference each and


                                                      84
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 87 of 97




      every ofthe foregoing paragraphs asiffully setforth herein.
              265. D efendantsprcsented,orcaused to bepresented,false orfraudulcntclaim sto

       AHCA and itsagents.
              266. D efendantsknew ,orwere deliberately ignorantorrecklessin notlnow ing,that

       these claim sw ere false.
              267. Accordingly,D efendants are liable fortreble dam ages,civilpenalties,and the

       costofthisactionunderFla.Stat.jj68.1)82(2),68.086.
                                                CO UNT V

                                             ,a
                    Violation ofthe Florida F' lseClaimsAct.Fla.Stat.:68.082(2)(1
              268. Relatorand the State ofFlorida reallege and incom orateby referenceeach and

       every ofthe foregoing paragraphs asifflllly setforth herein.

              269. Defendantsm ade,used,orcaused to be m adeorused false orfraudulentrecords

       orstatem ents,including M DS A ssessm entsandresidentrecordscontaining such M D S

       Assessm entsand otherfalsified inform ation,asalleged above.
              270. These false recordsorstatem entswerem aterialto false orfraudulentclaim s m ade

       to AHCA and its agents.
              271. Defendantsknew ,orw eredeliberately ignorantorreckless in notltnowing,that

       theserecordsorstatem entsw ere false.
                      A ccordingly,Defendantsareliable fortreble dam ages,civilpenalties,and the

       costofthisactionunderFla.Stat.jj68.082(2),68.086.
                                                C OUN T VI

                     ViolationoftheFlorida1E
                                           .
                                           ?aIseClaimsAct.Fla.Stat.168.082(2)4
                                                                             1
               273. Relatorand the State ofFlorida reallege and incorporate by reference each and

       every ofthe foregoing paragraphsas iff'
                                             i
                                             zlly setforth herein.


                                                      85
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 88 of 97




             274. D efendantsm ade,used,orcaused to be m ade orused false orfraudulentrecords

       orstatem ents,including M DS A ssessmelltsand otherfalsified information,asalleged above.

              275. These falserecordsorstatem entsw ere m atcrialto D efendants'obligation to pay

       ortransm itm oney orproperty to AH CA and itsagents- including D efendants'obligation to

       repay m oney orproperty they had previously improperly received from AH CA and itsagents

              276. D efendantsknew ,orw eredeliberately ignorantorrecklessin notlmowing,that

       theserecords orstatem entsw ere false.

              277. Defendantsconcealedorimproperly avoided theirobligation topay ortransmit

       m oney orproperty to AH CA and its agents.
              278. Defendantsknew ,orwere deliberately ignorantorrecklessin notlmowing,that

       theirconductconcealed orimproperly avoided theirobligation to pay ortransm itm oney or

       property to AHCA and its agents.
              279. Accordingly,D efendants are liablefortreble dam ages,civilpenalties,and the

       costofthisactionunderFla.Stat.jj68.082(2),68.086.
                                                CO UNT VIl

             CivilConspiracv IncludineFCA Conspiracv Under31U.S.CodeQ3729(a)(1)(c)
              280. Defendantsconspiredwith oneanothertocommittheviolationsoftheFederal

       and Florida False Claim sA cts described in Counts1through V 1.
              28l. Each D efendantknew ofthe schem e and assisted in furthering it,asdescribed

       below .
              282. D efendantForm ation Capitaland the Form ation CapitalD efendantsw ere atthe

       centerofthe fraudulentschem e. They intentionally established a convoluted system ofshell

       corporationsto m ake itdifficultto trace the m oney received from fraudulentreilnbursem ents.

       Additionally,they controlledthepoliciesand managementofotherdefendants,includingthe

                                                     86
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 89 of 97




      M anagem entD efendants and theirSNFs,such asDefendantH illcrest. Representlttionson
       Formation Capital'sow n w ebsite indicatethatForm ation Capitaltakesan activerole in

       m onitoring and m anaging SN FSwithin itsportfolio,with ttrealtim e''data,analysesofregulatory

       com pliance,and in-person sitevisits.Ernployees ofForm ation Capital,such asStephanie

       H am ner,caused the otherentity defendantsto take stepsin furtherance ofthe conspiracy.

       Through its ownership ofDefendantGenesis and thcM anagem entDefendants,Formation

       Capitaland the Form ation CapitalDefendantswereresponsibleforthe selection and supervision

       ofexecutiveswho subm itted orcaused tl'e submission offalse orfraudulentclaim sfor

       reim bursem ent.Forexam ple,D efendantU ssery holdshisofficerposition atConsulateH ea1th

       Care(asSeniorViccPresidentofRevenueCycleManagement)atthewillofFonrationCapital,
       and in thatrole exercises ttoperational/m anagerialcontrol''overSN FSincluding D efendant

       Hillcrest.
              283. The GenesisD efendantsknew ofand worked to furtherthe fraudulentschem e.

       DefendantGenesis'em ployeeswere responsible forentering the false orfraudulentinform ation

       regardingtherapytreatmenttobesubmittedon claimsforreimbtlrsem ent. Seniormanagement

       ofGenesisactively encotlraged this schem eby hiring employeeswho w ould w ork in fttrtherance

       ofit,such asRossTolliver. TheG enesisD efendantsalso played a cnlcialrolein the schem eby

       contracting w ith the SNFSnm by theM anagcm entDefendants,including D efendantHillcrest,to

       receivepaym entsfrom the SN FS.Thisallowed Form ation Capital,theForm ation Capital

       Defendants,and theIndividualDefendantstowithdraw theprotitsoftheirschemeindirectly,by

       divertinghundredsofmillionsofdollarsofthosegainstotheGenesisDefendants,ofwhich




                                                      87
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 90 of 97




       Form ation Capital,the Form ation CapitalD efendants,and the lndividualDefendantsw erethe

       ultimatebeneficialowners.
              284. The Landlord D efendants sim ilarly knew ofand w orked to furtherthe fraudulent

       scheme. TheLandlord D efendantsw ere operated by employeesofForm ation Capital,such as

       Stephanie Ham ner. By charging steep rentsto the SNFS,including DefendantH illcrest,the

       Landlord Defendantsallow ed Form ation Capital,the Form ation CapitalD cfendants,and the

       lndividualDefendantsto withdraw the profitsoftheirschem e indirectly in the form ofrent

       paym ents,which w ould be passed up along the corporatechain back to Form ation Capital,the

       Form ation CapitalDefendants,orthe InclividualDefendants.

              285. The M anagem entDefendantsactively prom oted the fraudulentschem e.

       Executives ofthe M anagem entDefendants,such asregionalvicepresidents,would require SN FS

       underthecontrolofthe M anagem entD efendants to com m unicateregularly via conferencecalls

       in whichtheM anagementDefendantswould articulatethepoliciestheSNFSwererequiredto

       implem entin orderto subm itfalse or fraudulentclaim sforreim bursem ent. TheM anagem ent

       Defendantswould also replace em ployeesw ho failed to generate sufficientrevenue through the

       subm ission offalse claim s. According to CM S databases,theM anagem entD efendantsare

       expressly registered ashaving operational/m anagerialcontroloverthe SN FSatw '
                                                                                    bich the

       conspiracy w asexecuted,including atH illcrest.

              286. DefendantHillcrestw asa key actorin the fraudulentschem e. M ultiple EDsof

       thefacility,such asElsieJustilien,overtly required H illcrestem ployeesto subm itfraudulent

       claim s in orderto increasereim bursem ent.
              287. The InvestorD efendants knew ofand w orked to furtherthe fraudulentschem e.

       Each lnvestorDefcndantw as affiliated with Form ation Capital. '
                                                                      I'
                                                                       he lnvestorD efendantsserved




                                                     88
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 91 of 97




       asconduitsforForm ation Capital's contl'
                                              oloftheM anagem entDefendantsand H illcrestand for

       the distribution oftheillicitprofits from theschem c. The InvestorD efendantsdeliberately

       inserted them selvesbetween theM anagementDefendants and theultim ate ownersin orderto

       protectFormation Capitaland thelndividualDefendantsfrom liability.

              288. D efendantsW hitm an,Fishm an,and Reisknew ofand w orked to hzrtherthe

       fraudulentschem e in theirrolesasownersand directorsofD efendantGenesis. Pdorto February

       2015,tltrough theircontrolofForm ation Capitaland itsinvestm entpartners,Defendants

       W hitm an,Fishm an,and Reisw ere able to controlthe operations ofDefendantG enesis,including

       itsm andatesto em ployeesto engage in fraudulentpractices.A dditionally,in theirroles as

       directors ofGenesis,they w ere able to approve corporatepoliciesthatwould encourage these

       practices(andblockthosethatwouldrevealorcurbthem),aswellasselectandsct
       com pensation term s forcorporateofficerswho w ould carry outthose practices.

              289. DefendantsH artm an,Netlberger,and Low knew ofand worked to furtherthe

       fraudulentschem eby partnering with Form ation CapitalforitstakeoverofD efendantGenoa

       through theM anagem entD efendants in 2011. By gaining controlofboth the SN FSrtm by the

       M anagem entDefendantsand Genesis,Fonuation Capitaland the otherD efendantswere ableto

       implementtheirschem eanddiverttheproceedsofthefalseorfraudulentclaimsoutoftheSNFS

       through paym entsto the GenesisDefendants,theLandlord Defendants,and the M anagem ent

       D efendants. DefendantsHartm an,N euberger,and Low contributed to this schem eby facilitating

       thatcorporate takeoverand by interposillg theircom orate affiliattsasinvestorcom paniesin an

       attemptto shieldFormation Capitaland thelndividualDefendantsfrom detection and liability.

              290. D efendantConteknew ofand w orked to furtherthe fraudulentschem eby

       controlling theoperations ofthe M anagementDefendants. M r.Conte was hand-picked by



                                                      89
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 92 of 97




      DefendantForm ation Capitalto rtm Consulate Health Care. In thatrole,M r.Conte wasexpected

      to and did prom ote increased revenuetltrough systcm atic subm ission offalse orfraudulent

      claim s.
                      D efendants Bryson and Jellerson knew ofand w orked to furtherthe fraudulent

      schem eby controlling the Operations oftheM anagem entDefendantsthrough theirrolesas

      COOsofConsulate Hea1th Care.M r.Bc/son wasparticularly fam iliarwith the schem ebecause

      he had previously served asan advisorforForm ation Capitalbefore Form ation Capitalselected

       him to work asthe COO ofConsulateH ea1th Care.A sCOOs,D efendantsBryson and Jellerson

       w ere responsible forthe operationsofConsulate Hea1th Care and the SN FSitcontrolled,

       including D efendantHillcrest. Thcy had the authority to create policiesprom otingthe
       subm ission offalse orfraudulentclaim s and used theirauthol'ity in furtherance ofthe fraudulent

       scheme.
              292. D efendantsRagland and A ntonik knew ofand w orked to furtherthefraudulent

       schem e by controlling the tinancialdealingsofthe M anagem entDefendantsthrough theirrolcs

       as CFOs ofConsulate H ealth Care and Hillcrest. AsCFOs,D efendantsRagland and Antonik

       had ultim ate responsibility forthe handling ofreim bursem ents and knew orw ererecklessin not

       know ing thatthe reimbursem entsreceived by theM anagem entDefendantsand titeirSN FSwere
       based on false orfraudulentclaim s. D efendantsRagland and Antonik encouraged the filing of

       those false claim sby declining to take any corrective action to stop theM anagem entDefendants'

       practiceofsubm itting false orfraudulentclaim sforreimbursem ent.
                 293. D efendantU ssery knew ()fand worked to furtherthe fraudulentschem eby

       controlling the tinancesofthe M anagem entD efendantsand theirSNFS,including Defendant

       Hillcrest. M r.Ussery had operational/rnanagerialcontroloverHillcrestand,asthe SeniorVice




                                                      90
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 93 of 97




       PresidentofRevenue Cycle M anagem entforConsulateH ealth Care,w asresponsible forefforts

       to increase the company'srevenuethrough false orfraudulentclaim s forpaym ent.

              294. D efendantDiasknew ofand w orked to furtherthe fraudulentschelneby assisting

      in the creation ofthe w eb oflegalentitiesused in the execution ofthe schem e. M r. D iasw as

      responsibleforthe form ation orregistration ofseveraldefendantentities,including Epsilon

      HCP,Florida HCP,and LV E M asterTenant,each ofwhich w asdesir ed to obscure Defendants'

      illegalconductand diverttheprofitsfrom thatconductto thw artenforcem entand recovery by

      thegovernm ent.

             295. Al1DefendantsareawareoftheFebruary2017juryverdictthatConsulate's
      facilitiesandrehabilitation providerssubmittedfalseclaimsforover$100milliontoM edicare
      and M edicaid overaperiod ofyears. Follow ing thatverdict,as dem onstrated atthe Hillcrest

      facility,Deftndantshave notimplemented any policy changesattheirfacilities. Theegregious

      natureofthefraudandabuse,particularlywhencombinedwithapreviousjuryGndingof
      submission offalseclaimsandover$100million ofoverchargestoM edicareandM edicaid by
      the sam e facilities,indicates thatthe ownersofConsulate,including the lnvestorDefendants, the

      IndividualDefendants,the Form ation CapitalD efendants,and Form ation Capital, understand

      whatisoccuning and by theirinvestm entand instructionsto theirm anagersto require fraudulent

      billing and unreasonable residentcare,they are liable forcausing false or fraudulentclaim sto be

      presented to M edicare and M edicaid.

                                         CLAIM S FOR RELIEF
             W HEREFO RE,Relatoracting on behalfofand in thenam e oftheUnited States of

      AmericaandtheStateofFloridaandonherownbehalf,demandsandpraysthatjudgmentbe
      enteredasfollowsagainsttheDefendants:
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 94 of 97




            (a)   ln favoroftheUnited StatesagainsttheDefendantsfortrebletheamount
                  ofdam agesto GovernmentPrograms(including CM S andM A Plans)
                  from theD efendants'unlawfulactivities,plusm aximum civilpenalties of

                  Twenty-oneThousandNine-l-lundred andSixteen Dollars($21,916.00)
                  foreach violation ofthefederalFalsc Claim s Actthatoccurred after

                  February 3,2017,
                                 .plusm aximum civilpenaltiesofTw entp one Thousand

                  Five-lltmdredandSixty-ThreeDollars($21,563.00)foreachviolationof
                  thefederalFalse Claim sActthatoccurred between N ovem ber2,2015,

                  and February 2,2017;plusm aximum civilpenaltiesofEleven Thousand

                  Dollars($11,000.00)foreachviolationofthefederalFalseClaimsAct
                  thatoccurred beforeN ovem ber2,2015;

            (b)   InfavoroftheUnitedStatesagainsttheDefendantsfordisgorgementof
                  theprofitsunlawfully obtained by Defendantsasa resultoftheirillegal

                  schem e;

            (c)   lnfavoroftheRelatorforthemaximum amountallowedpursuantto31
                  U.S.C.j3730(d)plusreasonableexpensesandattomeys'feesandcosts
                  incurred by Relator;

            (d)   InfavoroftheRelatorandtheStateofFloridaagainstDefendantsinan
                  am ountequalto three tim csthe am ountofdam agesto the State from the

                  D efendants'unlaw fulactivities,plusm axim um civilpenalties ofEleven

                  ThousandDollars($11,000.00)foreachviolationoftheFloridaFalse
                  Claim sA ct;




                                                92
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 95 of 97




            (e)   In favoroftheRelatorforthemaximum amountallowedpursuantto Fla.
                  Stat.j68.085plusreasonableexpensesandattorneys'feesandcosts
                  incurred by Relator;and

            (9    SuchotherreliefasthisCourtdeemsjustandappropriate.
            PLAINTIFF/RELATOR DEM AN DS A TRIAL BY JURY ON A LL COUNTS.




                                             93
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 96 of 97




       Dated: January 9,2018                      Respectfully subm itted,

                                                  /sJonathanKroner           %   .
       SilvijaA.Strikis                           Jonathan K roner
       +rohacvicetoèc-/i/cffl                        (FL.BarNo.328677)
       Jam esM .W ebster,1II                      JONATHAN KRONER LAW OFFICE
       +rohacviceto:c//ctfl                       300 S.BiscayneBlvd.,Suite 3710
       Joseph S.H all                             M iam i,FL 33131
       +rohacviceto:e-/i/ctfl                     Telephone:(305)310-6046
       Bradley E.Oppenheim er                     JK@FloridaFalseclaim.com
       +rohacviceto/?,-/P,#)
       Jeffrey A .Love
       +rohacviceto:c-/zfct;
                           ll
       BenjaminJ.Gottesman
       +rohacviceto:c//ctfl
       KELLOGG,H ANSEN,TODD,
        FIGEL & FREDERICK,P.L.L.C.
       1615 M Street,N .W .,Suite400
       W ashington,DC 20036
       Telephone:(202)326-7900
       Facsimile:(202)326-7999
       sstrikis@ kellogghansen.com
       jwebster@ kellogghansen.com
       jhall@kellogghansen.com
       boppeA eimer@kellogghansen.com
       jlove@kellogghansen.com
       bgottesman@kellogghansen.com
                                       CounselforRelator




                                                94
Case 1:18-cv-20099-CMA Document 1 Entered on FLSD Docket 01/09/2018 Page 97 of 97




                                  CERTIFICATE O F SERV ICE
              lHEREBY CERTIFY thatthe foregoing Com plaintwillbem ailed,postageprepaid,
      certified m ailto:

            The Honorable JeffSessions,Attorney General,
            United StatesD epartm entofJustice,
            c/o Sealed Docum entCivilProcessClerk,
            950 Pennsylvania Ave,N.W .,
            W ashington,DC 20530-001

            BcnjaminG.Greenberg,
            United StatesAttorney,
            c/o Sealed D ocum entCivilClerk,
            99 NE 4th St,M iam i,FL 33132

            Susan Torres,AssistantUnited States Attorney,
            viae-mailonlyatSusan.Torres@usdoj.gov
            W illiam Olson,TrialA ttorney,CivilFraud Division,
            U nited StatesDepartm entofJustice,via em ailonly
            atW illiam.E.olson@usdoj.gov
            Pam Bondi,Attorney General,
            c/o Sealed Docum entCivilClerk,
            The CapitolPL-01,
            Tallahassee,FL 32399-1050

            Jim m y Patronis,ChiefFinancialOfficer,
            D ept.ofFinancialServices,
            c/o Sealed D ocum entCivilClerk,
            200 EastGainesStreet,Tallahassee,FL 32399-0301
            Kathleen V on H oene,Com plex CivilEnforcem entBureau Chief,
            viae-mailonlyatKathleen.vonHoene@myioddalegal.com.

                                                     /s/JonathanKroner z A';''
                                                                             %'Z#.
                                                                                 'A----
                                                                                  -


                                                     Jonathan Kroner
